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From:           Eden Quainton
To:             Joshua Riley; Meryl Governski; Michael Gottlieb; Sam Hall
Subject:        Rich v. Butowsky -- Third Party Subpoenas
Date:           Wednesday, January 8, 2020 11:41:32 PM
Attachments:    Notice of Intent to Serve Subpoena Brad Bauman.pdf
                Notice of Intent to Serve Subpoena Kelsey Mulka .pdf
                Notice of Intent to Serve Subpoena Estate of Seth Rich .pdf


Attached please find three third party subpoenas to testify addressed to Brad Bauman, Kelsy
Mulka and Aaron Rich, as administrator of the Estate of Seth Rich.

Please provide some available dates for Aaron Rich's deposition and the location of the
deposition no later than Friday, January 10 at 12:00 pm. Because Mr. Rich's address has
been sealed we do not know where to conduct the deposition and need your assistance in
scheduling the deposition. In addition, please note that we will be providing you separately a
deficiency letter relating to Mr. Rich's production to date. If the deficiencies are not cured by
the date of Mr. Rich's deposition, we reserve the right to keep the deposition open.

Sincerely,

Eden P. Quainton
Quainton Law, PLLC
1001 Avenue of the Americas, 11th Floor
New York, NY 10018
Tel: 212.813.8389
Fax: 212.813.8390
Cell: 202.360.6296
www.quaintonlaw.com
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                       Hon. Richard J. Leon

EDWARD BUTOWSKY,                                         DEFENDANT EDWARD
MATTHEW COUCH, and                                       BUTOWSKY’S NOTICE OF
AMERICA FIRST MEDIA,                                     INTENT TO SERVE
                                                         THIRD-PARTY SUBPOENA

                        Defendants.
_____________________________________________

       TO PLAINTIFF:

       PLEASE TAKE NOTICE, that pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendant Edward Butowsky intends to serve a third-party subpoena ad

testificandum and duces tecum on Brad Bauman.

       The subpoena is attached to this Notice.

Dated: January 8, 2019
       New York, NY
                                            QUAINTON LAW, PLLC
                                            By: Eden P. Quainton
                                            Eden P. Quainton
                                            1001 Avenue of the Americas, 11thFloor
                                            New York, NY 10018
                                            Telephone: (212) 813- 8389
                                            Facsimile: (212) 813-8390
                                            equainton@gmail.com
                                            Attorneys for Defendant Edward Butowsky

To:    Joshua Riley
       Meryl C. Governski
       BOIES SCHILLER FLEXNER LLP
       1401 New York Ave, N.C
       Washington, DC 2005
       jriley@bsflOp.com
       mgovernski@bsflOp.com
       Attorneys for Plaintiff Aaron Rich



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Samuel Hall
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shall@ZLOONLH.com
Attorneys for Plaintiff Aaron Rich




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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                           Hon. Richard J. Leon

EDWARD BUTOWSKY,
MATTHEW COUCH, and
AMERICA FIRST MEDIA,

                        Defendants.
_____________________________________________

                                   SUBPOENA ADDENDUM

The subpoena commands the production of the items or things listed below. Each individual

Request for Documents (collectively the “Requests”), shall be read and interpreted in accordance

with the definitions and instructions identified below.

                                  GENERAL DEFINITIONS

Plaintiff incorporates by reference all the instructions, definitions, and rules contained in the

Federal Rules of Civil Procedure and for purposes of this Subpoena, the following definitions shall

apply:

1. Unless words or terms have been given a specific definition herein, each word or term used

herein shall be given its usual and customary dictionary definition.

2. The terms defined herein should be construed broadly to the fullest extent of their meaning in

a good faith effort to comply with the Federal Rules of Civil Procedure.

3. “Communication” means, in addition to its customary and usual meaning, every contact of any

nature, whether documentary, electronic, written or oral, formal or informal, at any time or place

and under any circumstances whatsoever whereby information of any nature is transmitted or

transferred by any means, including, but not limited to letters, memoranda, reports, emails, text
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messages, instant messages, Social Media, telegrams, invoices, telephone conversations,

voicemail messages, audio recordings, face-to-face meetings and conversations, or any other form

of communication, and any Document relating to such contact, including, but not limited to,

correspondence, memoranda, notes or logs of telephone conversations, e-mail, electronic chats,

text messages, instant messages, direct or private messages, correspondence in “meet ups” or chat

rooms, and all other correspondence on Social Media. Without limiting the foregoing in any

manner, commenting as well as any act of expression that is not directed at a specific person, or

otherwise may not be intended to provoke a response (such as a Social Media posting, “likes,”

“shares,” or any other form of reacting to another’s use of Social Media), are forms of

communication.

4. The term “relating to” means “concerning,” “referring to,” “describing,” “evidencing,” or

“constituting.”

5. “Document” or “Documents” means documents broadly defined in Rule 34 of the Federal

Rules of Civil Procedure and includes (i) papers of all kinds, including, but not limited to, originals

and copies, however made, of letters, memoranda, hand-written notes, notebooks, work-pads,

messages, agreements, rough drafts, drawings, sketches, pictures, posters, pamphlets, publications,

news articles, advertisements, sales literature, brochures, announcements, bills, receipts, credit

card statements, and (ii) non-paper information of all kinds, including, but not limited to, any

computer generated or electronic data such as digital videos, digital photographs, audio recordings,

podcasts, Internet files (including “bookmarks” and browser history), online articles and

publications, website content, electronic mail (e-mail), electronic chats, instant messages, text

messages, uploads, posts, status updates, comments, “likes”, “shares”, direct messages, all Social

Media activity, or any other use of ephemeral communications services or Social Media, and (iii)
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any other writings, records, or tangible objects produced or reproduced mechanically, electrically,

electronically, photographically, or chemically. Without limiting the foregoing in any way, every

Communication is also a Document.

6. The term “Electronically Stored Information” or “ESI” is defined to be synonymous in

meaning and equal in scope to the usage of “electronically stored information” in Fed. R. Civ.

34(a)(1)(A). “ESI” includes data on all servers, including IP addresses, MAC 3 addresses, archived

data, deleted data, and legacy data, as well as data on removable electronic media and in any other

location where documents relevant to the Requests may be found.

7. “Social Media” means any forum, website, application, or other platform on which persons

can create, transmit, share, communicate, or comment upon any information, ideas, or opinions,

or otherwise engage in social networking, including, but not limited to: Twitter, Gab, MeWe,

Periscope, Facebook, Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan, 8chan,

Tumblr, Youtube, LinkedIn, Flikr, Reddit, Quora, Disquis, Slack, Whisper, Yik Yak, Medium,

WordPress, and instant messaging services such as Signal, WhatsApp, Facebook Messenger,

Hangouts, Skype, Line, KakaoTalk, Telegram, and CyberDust. Without limiting the foregoing in

any manner, and by way of example only, the following are examples of Social Media activity:

uploading, posting, commenting, reacting (e.g., “liking” a post), sharing, and communicating on

comment sections of Social Media.



                                  SPECIFIC DEFINITIONS

1. Aaron Rich refers to “Aaron Nathan Rich,” the plaintiff in the above-captioned litigation.

2. “Seth Rich” refers to Seth Conrad Rich, the brother of the plaintiff in the above captioned

litigation.
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3. “Joel Rich” refers to the father of Seth Rich.

4. “Mary Rich” refers to the mother of Seth Rich.

5. “You,” “Your,” or “Yours” refers to Brad Bauman, and includes all of Your agents,

representatives, or other persons, organizations, or others acting or purporting to act on Your

behalf, or under Your control.



                                        INSTRUCTIONS

Plaintiff incorporates by reference all the instructions, definitions, and rules contained in the

Federal Rules of Civil Procedure and for purposes of this Subpoena, the following instructions

shall apply:

A. Your responses to the following Requests shall be based on all knowledge and information

(whether or not hearsay or admissible) in Your possession, custody, or control.

B. Produce all responsive documents in Your possession, custody, or control, regardless of

whether such documents are possessed directly by You or persons or entities under Your control.

C. Produce each responsive document in its entirety including with all attachments or other

matters affixed thereto. Documents attached to each other should not be separated.

D. Any alteration of a responsive document, including any marginal notes, handwritten notes,

underlining, date stamps, received stamps, endorsed or filed stamps, drafts, revisions,

modifications, and other versions of a document, is a responsive document in its own right and

must be produced.

E. If no responsive documents exist for a specific Request, specifically state that no responsive

documents exist.
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F. Certify that Your production is complete and correct in accordance with specifications of the

attached Certification that Response is Complete and Correct form provided as Exhibit A.

G. If any otherwise responsive document was, but is no longer, in existence or in Your possession,

custody, or control, identify the type of information contained in the document, its current or last

known custodian, the location/address of such document, and the identity of all persons having

knowledge or who had knowledge of the document, and also describe in full the circumstances

surrounding its disposition from Your possession or control.

H. If You object to production in response to a specific request, You shall state with particularity

the basis for all objections with respect to such request. You shall respond to any and all portions

of any request that do not fall within the scope of Your objection.

I. Whether or not You object, You must preserve all Documents and Communications relevant

to the above-captioned matter, including all Documents and Communications responsive to the

Requests.

J. Pursuant to Rule 45(e) of the Federal Rules of Civil Procedure, documents shall be produced

either (a) as they are kept in the usual course of business (in which case they shall be produced in

such fashion as to identify the department, branch, or office in whose possession it was located

and, where applicable, the natural person in whose possession it was found or the server or central

file in which it was found, and the address of each document’s custodian(s)), or (b) segregated as

responsive to a specific Request enumerated in the Request, with such specific Request identified.

K. All Documents produced in electronic form shall include related metadata. Produce in TIFF or

native format (i.e., Word documents as .DOC or .DOCX files, Outlook emails as .PST files, Excel

spreadsheets as .XLS or .XLSX files, Adobe PDF documents as .PDF files). For all forms of ESI,

ensure that ESI is provided in unencrypted form and free of password protection.
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L. In the event any Document or Communication is withheld on the basis of the attorney-client

privilege, work product doctrine, or any other right of non-disclosure on any other basis, You shall

produce a privilege log.



                             DOCUMENTS TO BE PRODUCED

       1.      All Documents and Communications referring or relating to any of Seth Rich,

Aaron Rich, Joel Rich, or Mary Rich, including any such Communications between or involving

You and any member of law enforcement, including any member of the Washington D.C.

metropolitan police force, any United States attorney or assistant United States attorney, the

Federal Bureau of Investigations or the Secret Service; any member of the Democratic National

Committee; any member of Congress; any member of the Central Intelligence Agency; any

member of the National Security Agency; any representative of the Office of the Special Counsel;

any reporter with, or representative, employee or agent of, the New York Times, the Washington

Post, the Los Angeles Times, the Daily Beast, Buzzfeed, Vox, Politico, CNN, MSNBC, Fox News,

CBS, ABC and NBC; and any of Muriel Bowser, Cathy Lanier, Theresa Grafenstine, Joey Della

Camera, Joe Capone, Kelsey Mulka, Dov Friedman, Christine Trankheim, Shawn Lucas, Deborah

Wasserman Schultz, Donna Brazile, John Podesta, Hilary Clinton, Bernie Sanders, Imran Awan,

Pratt Wiley, Amy Dacey, Andrew Therriault, Michael Cass Antony, Rob Placek and Roberto

Alonso.
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                                 EXHIBIT A
           CERTIFICATION THAT RESPONSE IS CORRECT AND COMPLETE

I, ______________________________________ , certify as follows:



1. The enclosed production of Documents and Communications were prepared and assembled

under my personal supervision;

2. The Documents and Communications contained in this production to the Subpoena are

authentic, genuine and what they purport to be;

3. Attached is a true and accurate record of all persons who prepared and assembled any

productions and responses to the Subpoena, all persons under whose personal supervision the

preparation and assembly of productions and responses to the Subpoena occurred, and all persons

able competently to testify: (a) that such productions and responses are complete and correct to

the best of such person's knowledge and belief; and (b) that any Documents produced are authentic,

genuine and what they purport to be; and

4. Attached is a true and accurate statement of those requests under the Subpoena as to which no

responsive Documents were located in the course of the aforementioned search.

Signature: _____________________________ Date: ___________________

Printed Name: __________________________

Address,      e-mail      and       telephone      number:______________________________

______________________________________________________________________________

______________________________________________________________________________
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                               CERTIFICATE OF SERVICE

       I, EDEN P. QUAINTON, hereby certify that on this Wh day of -DQXDU\ , a copy of
the documents entitled:

       Notice of Intent to Serve Third Party Subpoena
       Subpoena
       Subpoena Addendum

Were served via electronic document transfer to the following parties.

Joshua Riley
Meryl C. Governski
BOIES SCHILLER FLEXNER LLP
1401 New York Ave, N.C
Washington, DC 2005
jriley@Esflip.com
mgovernski@bsflip.com

MicKDHl J. Gottlieb
Samuel Hall
WILLKIE FARR & GALLAGHER LLP
1875 K. Street, N.W.
Washington, D.C. 20006
mgottlieb@willkie.com
shall@willkie.com



                                                     /s/ Eden Quainton___________________
                                                     EDEN P. QUAINTON, ESQ.
                                                     1001 Avenue of the Americas, 11th Floor
                                                     New York, New York 10018
                                                     Telephone: (212) 813-8389
                                                     equainton@gmail.com
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                        Hon. Richard J. Leon

EDWARD BUTOWSKY,                                          DEFENDANT EDWARD
MATTHEW COUCH, and                                        BUTOWSKY’S NOTICE OF
AMERICA FIRST MEDIA,                                      INTENT TO SERVE
                                                          THIRD-PARTY SUBPOENA

                        Defendants.
_____________________________________________

       TO PLAINTIFF:

       PLEASE TAKE NOTICE, that pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendant Edward Butowsky intends to serve a third-party subpoena ad

testificandum and duces tecum on Aaron Rich, as Administrator of the Estate of Seth Rich.

       The subpoena is attached to this Notice.

Dated: January 8, 2020
       New York, NY
                                            QUAINTON LAW, PLLC
                                            By: Eden P. Quainton
                                            Eden P. Quainton
                                            1001 Avenue of the Americas, 11thFloor
                                            New York, NY 10018
                                            Telephone: (212) 813- 8389
                                            Facsimile: (212) 813-8390
                                            equainton@gmail.com
                                            Attorneys for Defendant Edward Butowsky

To:    Joshua Riley
       Meryl C. Governski
       BOIES SCHILLER FLEXNER LLP
       1401 New York Ave, N.C
       Washington, DC 2005
       jriley@EsflOp.com
       mgovernski@bsflOp.com
       Attorneys for Plaintiff Aaron Rich



                                                  1
Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 17 of 221




 Michael J. Gottlieb
 Samuel Hall
 WILLKIE FARR & GALLAGHER LLP
 1875 K. Street, N.W.
 Washington, D.C. 20006
 mgottlieb@willkie.com
 shall@ZLOONLH.com
 Attorneys for Plaintiff Aaron Rich




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      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 21 of 221



                               CERTIFICATE OF SERVICE

       I, EDEN P. QUAINTON, hereby certify that on this 8th day of January 2020, a copy of
the documents entitled:

       Notice of Intent to Serve Third Party Subpoena
       Subpoena

Were served via electronic document transfer to the following parties.

Joshua Riley
Meryl C. Governski
BOIES SCHILLER FLEXNER LLP
1401 New York Ave, N.C
Washington, DC 20005
jriley@bsfllp.com
mgovernski@bsfllp.com

Micahel J. Gottlieb
Samuel Hall
WILLKIE FARR & GALLAGHER LLP
1875 K. Street, N.W.
Washington, D.C. 20006
mgottlieb@willkie.com
shall@willkie.com



                                                     /s/ Eden Quainton___________________
                                                     EDEN P. QUAINTON, ESQ.
                                                     1001 Avenue of the Americas, 11th Floor
                                                     New York, New York 10018
                                                     Telephone: (212) 813-8389
                                                     equainton@gmail.com
      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 22 of 221



                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                      Hon. Richard J. Leon

EDWARD BUTOWSKY,                                        DEFENDANT EDWARD
MATTHEW COUCH, and                                      BUTOWSKY’S NOTICE OF
AMERICA FIRST MEDIA,                                    INTENT TO SERVE
                                                        THIRD-PARTY SUBPOENA

                        Defendants.
_____________________________________________

       TO PLAINTIFF:

       PLEASE TAKE NOTICE, that pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendant Edward Butowsky intends to serve a third-party subpoena ad

testificandum and duces tecum on Kelsey Mulka.

       The subpoena is attached to this Notice.

Dated: January 8, 2020
       New York, NY
                                            QUAINTON LAW, PLLC
                                            By: Eden P. Quainton
                                            Eden P. Quainton
                                            1001 Avenue of the Americas, 11thFloor
                                            New York, NY 10018
                                            Telephone: (212) 813- 8389
                                            Facsimile: (212) 813-8390
                                            equainton@gmail.com
                                            Attorneys for Defendant Matthew Couch
To:    Joshua Riley
       Meryl C. Governski
       BOIES SCHILLER FLEXNER LLP
       1401 New York Ave, N.C
       Washington, DC 2005
       jriley@bsfllp.com
       mgovernski@bsfllp.com
       Attorneys for Plaintiff Aaron Rich




                                                  1
Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 23 of 221



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 shall@ZLOONLH.com
 Attorneys for Plaintiff Aaron Rich




                                  2
Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 24 of 221
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      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 27 of 221



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                           Hon. Richard J. Leon

EDWARD BUTOWSKY,
MATTHEW COUCH, and
AMERICA FIRST MEDIA,

                        Defendants.
_____________________________________________

                                  SUBPOENA ADDENDUM

The subpoena commands the production of the items or things listed below. This subpoena for

documents, including each individual Request for Documents (collectively the “Requests”), shall

be read and interpreted in accordance with the definitions and instructions identified below.

                                  GENERAL DEFINITIONS

Plaintiff incorporates by reference all the instructions, definitions, and rules contained in the

Federal Rules of Civil Procedure and for purposes of this Subpoena, the following definitions shall

apply:

1. Unless words or terms have been given a specific definition herein, each word or term used

herein shall be given its usual and customary dictionary definition.

2. The terms defined herein should be construed broadly to the fullest extent of their meaning in

a good faith effort to comply with the Federal Rules of Civil Procedure.

3. “Communication” means, in addition to its customary and usual meaning, every contact of any

nature, whether documentary, electronic, written or oral, formal or informal, at any time or place

and under any circumstances whatsoever whereby information of any nature is transmitted or

transferred by any means, including, but not limited to letters, memoranda, reports, emails, text
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messages, instant messages, Social Media, telegrams, invoices, telephone conversations,

voicemail messages, audio recordings, face-to-face meetings and conversations, or any other form

of communication, and any Document relating to such contact, including, but not limited to,

correspondence, memoranda, notes or logs of telephone conversations, e-mail, electronic chats,

text messages, instant messages, direct or private messages, correspondence in “meet ups” or chat

rooms, and all other correspondence on Social Media. Without limiting the foregoing in any

manner, commenting as well as any act of expression that is not directed at a specific person, or

otherwise may not be intended to provoke a response (such as a Social Media posting, “likes,”

“shares,” or any other form of reacting to another’s use of Social Media), are forms of

communication.

4. The term “relating to” means “concerning,” “referring to,” “describing,” “evidencing,” or

“constituting.”

5. “Document” or “Documents” means documents broadly defined in Rule 34 of the Federal

Rules of Civil Procedure and includes (i) papers of all kinds, including, but not limited to, originals

and copies, however made, of letters, memoranda, hand-written notes, notebooks, work-pads,

messages, agreements, rough drafts, drawings, sketches, pictures, posters, pamphlets, publications,

news articles, advertisements, sales literature, brochures, announcements, bills, receipts, credit

card statements, and (ii) non-paper information of all kinds, including, but not limited to, any

computer generated or electronic data such as digital videos, digital photographs, audio recordings,

podcasts, Internet files (including “bookmarks” and browser history), online articles and

publications, website content, electronic mail (e-mail), electronic chats, instant messages, text

messages, uploads, posts, status updates, comments, “likes”, “shares”, direct messages, all Social

Media activity, or any other use of ephemeral communications services or Social Media, and (iii)
      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 29 of 221



any other writings, records, or tangible objects produced or reproduced mechanically, electrically,

electronically, photographically, or chemically. Without limiting the foregoing in any way, every

Communication is also a Document.

6. The term “Electronically Stored Information” or “ESI” is defined to be synonymous in

meaning and equal in scope to the usage of “electronically stored information” in Fed. R. Civ.

34(a)(1)(A). “ESI” includes data on all servers, including IP addresses, MAC 3 addresses, archived

data, deleted data, and legacy data, as well as data on removable electronic media and in any other

location where documents relevant to the Requests may be found.

7. “Social Media” means any forum, website, application, or other platform on which persons

can create, transmit, share, communicate, or comment upon any information, ideas, or opinions,

or otherwise engage in social networking, including, but not limited to: Twitter, Gab, MeWe,

Periscope, Facebook, Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan, 8chan,

Tumblr, Youtube, LinkedIn, Flikr, Reddit, Quora, Disquis, Slack, Whisper, Yik Yak, Medium,

WordPress, and instant messaging services such as Signal, WhatsApp, Facebook Messenger,

Hangouts, Skype, Line, KakaoTalk, Telegram, and CyberDust. Without limiting the foregoing in

any manner, and by way of example only, the following are examples of Social Media activity:

uploading, posting, commenting, reacting (e.g., “liking” a post), sharing, and communicating on

comment sections of Social Media.



                                  SPECIFIC DEFINITIONS

1. Aaron Rich refers to “Aaron Nathan Rich,” the plaintiff in the above-captioned litigation.

2. “Seth Rich” refers to Seth Conrad Rich, the brother of the plaintiff in the above captioned

litigation.
      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 30 of 221



3. “Joel Rich” refers to the father of Seth Rich.

4. “Mary Rich” refers to the mother of Seth Rich.

5. “You,” “Your,” or “Yours” refers to Kelsey Mulka, and includes all of Your agents,

representatives, or other persons, organizations, or others acting or purporting to act on Your

behalf, or under Your control.



                                        INSTRUCTIONS

Plaintiff incorporates by reference all the instructions, definitions, and rules contained in the

Federal Rules of Civil Procedure and for purposes of this Subpoena, the following instructions

shall apply:

A. Your responses to the following Requests shall be based on all knowledge and information

(whether or not hearsay or admissible) in Your possession, custody, or control.

B. Produce all responsive documents in Your possession, custody, or control, regardless of

whether such documents are possessed directly by You or persons or entities under Your control.

C. Produce each responsive document in its entirety including with all attachments or other

matters affixed thereto. Documents attached to each other should not be separated.

D. Any alteration of a responsive document, including any marginal notes, handwritten notes,

underlining, date stamps, received stamps, endorsed or filed stamps, drafts, revisions,

modifications, and other versions of a document, is a responsive document in its own right and

must be produced.

E. If no responsive documents exist for a specific Request, specifically state that no responsive

documents exist.
      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 31 of 221



F. Certify that Your production is complete and correct in accordance with specifications of the

attached Certification that Response is Complete and Correct form provided as Exhibit A.

G. If any otherwise responsive document was, but is no longer, in existence or in Your possession,

custody, or control, identify the type of information contained in the document, its current or last

known custodian, the location/address of such document, and the identity of all persons having

knowledge or who had knowledge of the document, and also describe in full the circumstances

surrounding its disposition from Your possession or control.

H. If You object to production in response to a specific request, You shall state with particularity

the basis for all objections with respect to such request. You shall respond to any and all portions

of any request that do not fall within the scope of Your objection.

I. Whether or not You object, You must preserve all Documents and Communications relevant

to the above-captioned matter, including all Documents and Communications responsive to the

Requests.

J. Pursuant to Rule 45(e) of the Federal Rules of Civil Procedure, documents shall be produced

either (a) as they are kept in the usual course of business (in which case they shall be produced in

such fashion as to identify the department, branch, or office in whose possession it was located

and, where applicable, the natural person in whose possession it was found or the server or central

file in which it was found, and the address of each document’s custodian(s)), or (b) segregated as

responsive to a specific Request enumerated in the Request, with such specific Request identified.

K. All Documents produced in electronic form shall include related metadata. Produce in TIFF or

native format (i.e., Word documents as .DOC or .DOCX files, Outlook emails as .PST files, Excel

spreadsheets as .XLS or .XLSX files, Adobe PDF documents as .PDF files). For all forms of ESI,

ensure that ESI is provided in unencrypted form and free of password protection.
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L. In the event any Document or Communication is withheld on the basis of the attorney-client

privilege, work product doctrine, or any other right of non-disclosure on any other basis, You shall

produce a privilege log.



                             DOCUMENTS TO BE PRODUCED

       1.      All Documents and Communications referring or relating to any of Seth Rich,

Aaron Rich, Joel Rich, or Mary Rich, including any such Communications between or involving

You and any of the following: any member of law enforcement, including any member of the

Washington D.C. metropolitan police force, any United States attorney or assistant United States

attorney, the Federal Bureau of Investigations or the Secret Service; any member of the Democratic

National Committee; any member of Congress; any member of the Central Intelligence Agency;

any member of the National Security Agency; any representative of the Office of the Special

Counsel; any reporter with, or representative, employee or agent of, the New York Times, the

Washington Post, the Los Angeles Times, the Daily Beast, Buzzfeed, Vox, Politico, CNN,

MSNBC, Fox News, CBS, ABC and NBC; and any of Muriel Bowser, Cathy Lanier, Theresa

Grafenstine, Joey Della Camera, Joe Capone, Brad Bauman, Dov Friedman, Christine Trankheim,

Shawn Lucas, Deborah Wasserman Schultz, Donna Brazile, John Podesta, Hilary Clinton, Bernie

Sanders, Dimitri Alperowitch, Shawn Henry, Imran Awan, Pratt Wiley, Amy Dacey, Andrew

Therriault, Michael Cass Antony, Rob Placek and Roberto Alonso.
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                                                EXHIBIT A

           CERTIFICATION THAT RESPONSE IS CORRECT AND COMPLETE

I, ______________________________________ , certify as follows:



1. The enclosed production of Documents and Communications were prepared and assembled

under my personal supervision;

2. The Documents and Communications contained in this production to the Subpoena are

authentic, genuine and what they purport to be;

3. Attached is a true and accurate record of all persons who prepared and assembled any

productions and responses to the Subpoena, all persons under whose personal supervision the

preparation and assembly of productions and responses to the Subpoena occurred, and all persons

able competently to testify: (a) that such productions and responses are complete and correct to

the best of such person's knowledge and belief; and (b) that any Documents produced are authentic,

genuine and what they purport to be; and

4. Attached is a true and accurate statement of those requests under the Subpoena as to which no

responsive Documents were located in the course of the aforementioned search.

Signature: _____________________________ Date: ___________________

Printed Name: __________________________

Address,      e-mail      and       telephone      number:______________________________

______________________________________________________________________________

______________________________________________________________________________
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                               CERTIFICATE OF SERVICE

       I, EDEN P. QUAINTON, hereby certify that on this 8th day of January, 2020, a copy of
the documents entitled:

       Notice of Intent to Serve Third Party Subpoena
       Subpoena
       Subpoena Addendum

Were served via electronic document transfer to the following parties:

Joshua Riley
Meryl C. Governski
BOIES SCHILLER FLEXNER LLP
1401 New York Ave, N.C
Washington, DC 2005
jriley@bsfllp.com
mgovernski@bsfllp.com

Michael J. Gottlieb
Samuel Hall
WILLKIE FARR & GALLAGHER LLP
1875 K. Street, N.W.
Washington, D.C. 20006
mgottlieb@willkie.com
shall@willkie.com



                                                     /s/ Eden Quainton___________________
                                                     EDEN P. QUAINTON, ESQ.
                                                     1001 Avenue of the Americas, 11th Floor
                                                     New York, New York 10018
                                                     Telephone: (212) 813-8389
                                                     equainton@gmail.com
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From:           Eden Quainton
To:             Joshua Riley; Meryl Governski; Michael Gottlieb; Sam Hall
Subject:        Rich v. Butowsky -- Notice of Intent to Serve Third Party Subpoena
Date:           Monday, January 13, 2020 3:48:02 PM
Attachments:    Notice of Intent to Serve Subpoena DellaCamera.pdf
                Notice of Intent to Serve Subpoena Capone.pdf


Attached please find two notices of intent to serve third-party subpoenas.

Eden P. Quainton
Quainton Law, PLLC
1001 Avenue of the Americas, 11th Floor
New York, NY 10018
Tel: 212.813.8389
Fax: 212.813.8390
Cell: 202.360.6296
www.quaintonlaw.com
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                       Hon. Richard J. Leon

EDWARD BUTOWSKY,                                         DEFENDANT EDWARD
MATTHEW COUCH, and                                       BUTOWSKY’S NOTICE OF
AMERICA FIRST MEDIA,                                     INTENT TO SERVE
                                                         THIRD-PARTY SUBPOENA

                        Defendants.
_____________________________________________

       TO PLAINTIFF:

       PLEASE TAKE NOTICE, that pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendant Edward Butowsky intends to serve a third-party subpoena on Joseph

DellaCamera.

       The subpoena is attached to this Notice.

Dated: January 13, 20
       New York, NY
                                            QUAINTON LAW, PLLC
                                            By: Eden P. Quainton_____
                                            Eden P. Quainton
                                            1001 Avenue of the Americas, 11 thFloor
                                            New York, NY 10018
                                            Telephone: (212) 813- 8389
                                            Facsimile: (212) 813-8390
                                            equainton@gmail.com
                                            Attorneys for Defendant Edward Butowsky

To:    Joshua Riley
       Meryl C. Governski
       BOIES SCHILLER FLEXNER LLP
       1401 New York Ave, N.C
       Washington, DC 2005
       jriley@bsfllp.com
       mgovernski@bsfllp.com
       Attorneys for Plaintiff Aaron Rich



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 Michael J. Gottlieb
 Samuel Hall
 WILLKIE FARR & GALLAGHER LLP
 1875 K. Street, N.W.
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 mgottlieb@willkie.com
 shall@willkie.com
 Attorneys for Plaintiff Aaron Rich




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Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 39 of 221
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________
AARON RICH
                        Plaintiff,            Civil Action No. 1:18-cv-00681-RJL

v.                                                       Hon. Richard J. Leon

EDWARD BUTOWSKY,                                         DEFENDANT EDWARD
MATTHEW COUCH, and                                       BUTOWSKY’S NOTICE OF
AMERICA FIRST MEDIA,                                     INTENT TO SERVE
                                                         THIRD-PARTY SUBPOENA

                        Defendants.
_____________________________________________

       TO PLAINTIFF:

       PLEASE TAKE NOTICE, that pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendant Edward Butowsky intends to serve a third-party subpoena on Joe Capone.

       The subpoena is attached to this Notice.

Dated: January 13, 20
       New York, NY
                                            QUAINTON LAW, PLLC
                                            By: Eden P. Quainton_____
                                            Eden P. Quainton
                                            1001 Avenue of the Americas, 11 thFloor
                                            New York, NY 10018
                                            Telephone: (212) 813- 8389
                                            Facsimile: (212) 813-8390
                                            equainton@gmail.com
                                            Attorneys for Defendant Edward Butowsky

To:    Joshua Riley
       Meryl C. Governski
       BOIES SCHILLER FLEXNER LLP
       1401 New York Ave, N.C
       Washington, DC 2005
       jriley@bsfllp.com
       mgovernski@bsfllp.com
       Attorneys for Plaintiff Aaron Rich




                                                  1
Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 43 of 221



 Michael J. Gottlieb
 Samuel Hall
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 mgottlieb@willkie.com
 shall@willkie.com
 Attorneys for Plaintiff Aaron Rich




                                  2
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Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 45 of 221
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      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 47 of 221



                               CERTIFICATE OF SERVICE

       I, EDEN P. QUAINTON, hereby certify that on this 13th day of January 2020, a copy of
the documents entitled:

       Notice of Intent to Serve Third Party Subpoena
       Subpoena

Were served via electronic document transfer to the following parties.

Joshua Riley
Meryl C. Governski
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Michael J. Gottlieb
Samuel Hall
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1875 K. Street, N.W.
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mgottlieb@willkie.com
shall@willkie.com



                                                     /s/ Eden Quainton___________________
                                                     EDEN P. QUAINTON, ESQ.
                                                     1001 Avenue of the Americas, 11th Floor
                                                     New York, New York 10018
                                                     Telephone: (212) 813-8389
                                                     equainton@gmail.com
      Case 1:18-cv-00681-RJL Document 116-4 Filed 01/16/20 Page 48 of 221



                               CERTIFICATE OF SERVICE

       I, EDEN P. QUAINTON, hereby certify that on this 13th day of January 2020, a copy of
the documents entitled:

       Notice of Intent to Serve Third Party Subpoena
       Subpoena

Were served via electronic document transfer to the following parties.

Joshua Riley
Meryl C. Governski
BOIES SCHILLER FLEXNER LLP
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Samuel Hall
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1875 K. Street, N.W.
Washington, D.C. 20006
mgottlieb@willkie.com
shall@willkie.com



                                                     /s/ Eden Quainton___________________
                                                     EDEN P. QUAINTON, ESQ.
                                                     1001 Avenue of the Americas, 11th Floor
                                                     New York, New York 10018
                                                     Telephone: (212) 813-8389
                                                     equainton@gmail.com
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From:           Meryl Governski
To:             Eden Quainton
Cc:             Joshua Riley; Michael Gottlieb
Subject:        RE: Rich v Butowsky
Date:           Monday, October 21, 2019 5:26:05 PM
Attachments:    RE Rich v. Butowsky et al.--Responses to InterrogatoriesMeet and Confer.msg


Mr. Quainton,

We appreciate you providing an estimate for the collection of Flock, and we would be willing
to cover half of your estimated cost for that collection, which is reasonable pursuant to the
federal rules. As far as search terms, it is our position that Mr. Couch should produce any and
all conversations responsive to the RFPs, which includes inter alia any and all
communications with individuals and entities named in the complaint (RFP No. 1); about any
member of the Rich family (RFP No. 2); any basis for his statements (RFP. No. 2); and any
basis for his Interrogatory responses (RFP No. 6). I am not familiar with Flock, and am not
sure whether searching for terms alone would be sufficient or would exclude necessary
context. Mr. Couch is in the best position to know how he used Flock and the individuals with
whom he used Flock to communicate with about the Rich family. Therefore, we invite Mr.
Couch to provide the initial suggestions for how a search might best capture responsive
materials. At a minimum, his production should include all communications with any of the
Defendants (Butowsky; members of the AFM team); The Washington Times; Admiral James
A. Lyons; Cassandra Fairbanks; The Gateway Pundit, Rod Wheeler; and any of the
participants at the September 2017 meeting at Butowsky’s home (Malia Zimmerman; Manuel
Chavez (aka Defango); Thomas Schoenberger; Joshua Flippo, etc).

Relatedly, as discussed in our multiple letters, Flock appears to be only one of many platforms
that Mr. Couch used to communicate about topics responsive to the outstanding RFPs but has
not produced. We, once again, suggest that it would be more effective and efficient for Mr.
Couch to hire a third-party discovery vendor to collect materials from all of Mr. Couch’s
platforms, the cost of which we would be amenable to considering contributing. We have
been conferring for months, and apparently are no closer to receiving the materials to which
Mr. Rich is entitled, and we have not yet received a response regarding the joint stipulation to
which we had agreed in principal (reattached here). Please confirm that you will produce all
outstanding materials—or provide an estimate for a third-party vendor to collect the
materials from Mr. Couch— by November 1, or Mr. Rich reserves the right to again
seek the Court to compel Mr. Couch to participate in discovery and to award the fees
Mr. Rich has already incurred relating to Mr. Couch’s delay.

With respect to Mr. Couch’s deposition, would December 12 work? Alternatively, we are
amenable to scheduling it during the first week of December if that works better for you and
Mr. Couch. Please confirm that this deposition would take place in Arkansas. Mr. Rich does
not plan to attend any of the depositions, and we do not believe it is appropriate for any of the
Defendants to attend either, especially considering the nature of the claims and the amount of
AEO-designated material.

As far as your questions relating to depositions Mr. Couch plans to take, it is not clear to us
that Mr. Couch (nor Mr. Butowsky now that he is unrepresented) has the Court’s permission
to take depositions. We would consider not opposing Mr. Couch moving for permission to
take specific depositions once you have entered an appearance. We would, however, object to
his doing so without counsel present and before you have entered an appearance in the case.
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We would be willing to consider tentatively scheduling Mr. Rich’s deposition, but it is our
position that Mr. Couch and the other Defendants must first coordinate amongst themselves to
propose a mutually agreeable date and location in either Colorado or Washington, D.C.

As far as Joel and Mary Rich, they are represented by separate counsel with whom you should
confer. Please include us in that correspondence so we can schedule accordingly.


Meryl Conant Governski
Associate

BOIES SCHILLER FLEXNER LLP
1401 New York Avenue, N.W.
Washington, DC 20005
(t) 202 895 7565
(m) 301 502 5638
(f) 202 237 6131
mgovernski@bsfllp.com
www.bsfllp.com




From: Eden Quainton [mailto:equainton@gmail.com]
Sent: Monday, October 21, 2019 10:12 AM
To: Meryl Governski
Cc: Joshua Riley; Michael Gottlieb
Subject: Rich v Butowsky

Meryl,

I am still working on responding to your letters. In the meantime, I am informed that Flock
will charge approximately $500 to make the chats searchable. Can you send me some
proposed search terms so we can start thinking about the logistics of this? I'm assuming the
$500 will not be an issue and the real challenge will be using terms that get only responsive
material.

On deps, the second week of December works for us. Can you propose a specific day? Will
Aaron be attending the deposition? If so, we would like to do his deposition at the same time.
Also, what is the availability of Joel and Mary Rich? Are you contemplating that Mr. Couch
would need to travel to Omaha?

Please let me know.

Eden
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


 CHAPWOOD CAPITAL INVESTMENT               )
     MANAGEMENT, LLC                       )
                                           )
 -and-                                     )
                                           )
 ED BUTOWSKY                               )
                                           )
         Plaintiffs,                       )
                                           )
 v.                                        )             Case No.
                                           )
                                           )             TRIAL BY JURY
 CHARLES SCHWAB CORPORATION                )             IS DEMANDED
 CHARLES SCHWAB & CO., INC.                )
 SCHWAB INSTITUTIONAL                      )
      ENTERPRISE                           )
 CHARLES R. SCHWAB                         )
 WALTER W. BETTINGER, II                   )
 BERNARD J. CLARK                          )
 JOHNATHAN M. CRAIG                        )
 JOSEPH R. MARTINETTO                      )
 NIGEL J. MURTAGH                          )
 WILLIAM BELL                              )
                                           )
 -and-                                     )
                                           )
 KEVIN LEWIS                               )
                                           )
         Defendants.                       )
                                           )


                                COMPLAINT
         Plaintiffs, Chapwood Capital Investment Management, LLC, a Texas limited

 liability company (“Chapwood”) and Ed Butowsky, by counsel, file the following

 Complaint against Defendants, Charles Schwab Corporation, Charles Schwab & Co.,

 Inc., Schwab Institutional Enterprise, and individual Schwab officers and directors,


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 Charles R. Schwab, Walter W. Bettinger, II, Bernard J. Clark, Johnathan M. Craig,

 Joseph R. Martinetto, Nigel J. Murtagh, William Bell and Kevin Lewis, jointly and

 severally.

        Plaintiffs seek (a) compensatory damages and punitive damages in a sum not less

 than $100,000,000.00, (b) prejudgment interest on the principal sum awarded by the

 Jury from August 30, 2017 to the date of Judgment at the rate of five percent (5%) per

 year, and (c) costs – arising out of Schwab’s defamation per se, business disparagement,

 tortious interference with contract and business expectancies, and breach of contract.

                                  I. INTRODUCTION

        For over ten (10) years, Chapwood enjoyed an excellent working relationship

 with Schwab.     That all changed on August 30, 2017, when Schwab precipitously

 terminated the relationship without notice, without any cause, indeed without any written

 or verbal explanation. In August 2017, Schwab informed Ed Butowsky – Chapwood’s

 managing partner – that “Senior Management” at Schwab wanted to have a conference

 call to discuss Butowsky’s “political views and Trump”.         There were no customer

 complaints. Chapwood’s performance was spectacular. Butowsky wondered what in the

 world his “political views” or President Trump had to do with Chapwood’s investment

 advisory business. Although he was totally bewildered by Schwab’s bizarre request,

 Butowsky agreed to the call. The call never took place. Rather, Schwab and its apex

 officials proceeded post-haste and with reckless disregard for the truth to defame

 Chapwood and Butowsky, disparage Chapwood’s business, and intentionally and

 maliciously interfere with Chapwood’s client relationships. Schwab acted knowingly and

 without regard to the consequences of its actions.



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          In this case, Chapwood and Butowsky seek money damages for loss of business,

 income and clients, injury to good will, and the insult, embarrassment, humiliation and

 injury to reputation caused by Schwab’s unwarranted and egregious actions.

                                           II. PARTIES

          1.          Chapwood is a private, closely-held investment advisor registered and in

 good standing with the Securities and Exchange Commission (SEC # 801-65121) and the

 Financial Industry Regulatory Authority (CRD # 138524).                      Ed Butowsky founded

 Chapwood in 2005. He is the managing partner of the firm. Kim Sams is Chapwood’s

 Chief Financial Officer and Butowsky’s partner. Chapwood’s members are all citizens of

 Texas.        Chapwood’s        established   business,      good    will    and   its   considerable

 accomplishments are described on its website [http://www.chapwoodinvestments.com/]

 and      in    its      Disclosure   Brochures       filed    with     the     SEC.      [See,   e.g.,

 https://www.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRC

 HR_VRSN_ID=493615]. For over twelve (12) years, Chapwood successfully focused on

 providing comprehensive financial counseling, portfolio management and investment advice

 to high net worth individuals and families. Chapwood is compensated for its investment

 advisory services by a percentage of assets under management and it also receives

 performance-based fees. Until Schwab defamed Chapwood and Butowsky and intentionally

 interfered with Chapwood’s business in August 2017, Chapwood was a large advisory firm

 with a stellar reputation, growing business and assets under management of more than $237

 Million.      Because of Schwab’s intentional wrongdoing, Chapwood’s assets under

 management plunged by over $45,000,000.00.                   Chapwood lost over 268 customer

 accounts and suffered a substantial loss of income.




                                                  3
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        2.     Defendant, Schwab, is a publicly-traded corporation (NYSE:SCHW) that

 engages in wealth management, securities brokerage, banking, asset management,

 custody, and financial advisory services.        Schwab is a Delaware corporation,

 headquartered in California. At December 31, 2017, Schwab had $3.36 trillion in client

 assets, $10.8 million active brokerage accounts, $1.6 million corporate retirement plan

 participants, and $1.2 million banking accounts. As of December 31, 2017, Schwab had

 approximately 17,600 full-time employees. Defendants, Charles R. Schwab, Walter W.

 Bettinger, II, Bernard J. Clark, Johnathan M. Craig, Joseph R. Martinetto, Nigel J.

 Murtagh, William Bell and Kevin Lewis (“Lewis”), are the individual officers and

 directors of Schwab who jointly instigated and directed the unlawful termination of the

 Agreement, the defamation, business disparagement and tortious interference at issue in

 this action. A description of each individual Defendant’s position at Schwab is published

 online [https://www.aboutschwab.com/leadership] and on their respective public profiles

 published by LinkedIn. None of the individual Schwab officers and directors is a citizen

 of Texas.

        3.     This action involves Schwab’s deliberate decision to unlawfully terminate

 Chapwood’s Investment Manager Services Agreement and to defame and disparage

 Chapwood in letters gratuitously sent by Schwab to Chapwood’s existing clients and

 Chapwood’s former clients.     In letters baked full of half-truths and insinuations of

 malfeasance, misfeasance and nonfeasance, Schwab painted Chapwood and its principals

 as unethical, dishonest and untrustworthy.        Schwab’s tortious interference with

 Chapwood’s business and its long-standing client relationships caused Chapwood to lose




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 over 268 accounts and $45,000,000.00 in assets under management.                  Schwab’s

 misconduct injured Chapwood and Butowsky’s good will and reputation.

                            III. JURISDICTION AND VENUE

        4.      The United States District Court for the Eastern District of Texas has

 subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 (Diversity

 Jurisdiction) and 28 U.S.C. § 1367 (Supplemental Jurisdiction). The parties are citizens

 of different States and the amount in controversy exceeds the sum or value of $75,000,

 exclusive of interest, costs and fees.

        5.      The Defendants are subject to general and specific personal jurisdiction in

 Texas. They transact substantial business in Texas. They committed multiple acts of

 defamation and intentional torts, in whole or part, in Texas.        They have minimum

 contacts with Texas such that the exercise of personal jurisdiction over them comports

 with traditional notions of fair play and substantial justice and is consistent with the Due

 Process clause of the United States Constitution.           Defendants’ defamation was

 purposefully directed at Texas and was continuous and systematic.          Chapwood and

 Butowsky’s claims directly arise from and relate to Defendants’ publication of false and

 defamatory statements in Texas and disparagement of a Plano-based business. See, e.g.,

 TV Azteca v. Ruiz, 490 S.W.3d 29 (Tex. 2016) (citing Keeton v. Hustler Magazine, Inc.,

 465 U.S. 770 (1984) and Calder v. Jones, 465 U.S. 783 (1984)).

        6.      Venue is proper in the Sherman Division of the United States District

 Court for the Eastern District of Texas because Schwab and its agents published and

 republished defamatory statements to a wide audience that includes persons who reside

 within the Sherman Division.             Schwab’s defamation caused substantial harm to




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 Chapwood and Butowsky’s reputations in Texas. A substantial part of the events giving

 rise to the claims stated in this action occurred in the Eastern District of Texas.

                      IV. STATEMENT OF MATERIAL FACTS

        7.      On February 19, 2008, Chapwood and Schwab entered into an Investor

 Manager Services Agreement (the “Agreement”).

        8.      A true copy of the Agreement is attached as Exhibit “A”.

        9.      Section 2 of the Agreement (General Description of Services), provides as

 follows:




        10.     Section 2 of the Agreement (Relationships of Schwab, Investment

 Manager and Clients), inter alia, provides that:




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        11.     Section 2 of the Agreement (Investment Manager’s Authorization), in

 pertinent part, provides that:




        12.     Section 2 of the Agreement (Compliance With Applicable Law) provides:




        13.     Section 2 of the Agreement (Termination) provides:




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        14.    Between February 2008 and August 1, 2017, Chapwood performed all

 duties and responsibilities called for by the Agreement without incident. The business

 relationship between Chapwood and Schwab was excellent.

        15.    On August 1, 2017, two things happened that ultimately caused Schwab to

 terminate the Agreement:

               a.       First, at 7:23 a.m. on August 1, 2017, David Folkenflik, a media

 correspondent for NPR, published an article online at NPR.org entitled, “Behind Fox

 News' Baseless Seth Rich Story: The Untold Tale”. NPR simultaneously broadcast the

 story on Morning Edition. [https://www.npr.org/2017/08/01/540783715/lawsuit-alleges-

 fox-news-and-trump-supporter-created-fake-news-story].    Folkenflik’s August 1, 2017

 article made and republished a number of false and defamatory statements about

 Butowsky, including:

               Ɣ        Fox News Network (“Fox News”) and Butowsky “worked in

 concert under the watchful eye of the White House to concoct a story” about the death of

 Democratic National Committee (“DNC”) staffer, Seth Rich;

               Ɣ        The Fox News story was a “fake news story”; and

               Ɣ        The Fox News story was a “deceptive story”.

 Folkenflik’s source was Douglas H. Wigdor (“Wigdor”). In the article, Folkenflik quoted

 Wigdor as follows:




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 Many millions of NPR subscribers and listeners saw and heard Folkenflik’s statements.

 Folkenflik’s article – including the false narrative fabricated by Wigdor that Butowsky

 had colluded with the President and Fox News to publish “fake news” – was republished

 hundreds of times with no fact-checking whatsoever by other main stream media outlets

 and online newspaper publishers. Folkenflik tweeted (published) the article to his 75,100

 followers on Twitter and NPR tweeted the article to its 3,000,000+ followers, e.g.:




 Ultimately, Folkenflik’s article was tweeted and retweeted (republished) tens of millions

 of times on August 1, 2017 alone.



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                b.      Second, after leaking the false story to Folkenflik in July 2017, on

  August 1, 2017 Wigdor filed a lawsuit against Butowsky and others on behalf of his

  client, Rod Wheeler (“Wheeler”).      Wigdor’s lawsuit falsely stated that Fox News

  reporter, Malia Zimmerman, “with knowledge and support of Butowsky, fabricated two

  quotations and attributed them to Mr. Wheeler:

         Ɣ      ‘My investigation up to this point shows there was some degree of email
                exchange between Seth Rich and Wikileaks,’ said Wheeler.’

         Ɣ      ‘My investigation shows someone within the DC government, Democratic
                National Committee or Clinton team is blocking the murder investigation
                from going forward,’ Wheeler said. ‘That is unfortunate. Seth Rich’s
                murder is unsolved as a result of that.’”

  Wigdor made multiple additional false and defamatory statements of fact about

  Butowsky, including that:

         Ɣ      Zimmerman, Butowsky and Fox had created fake news to advance
                President Trump’s agenda.

         Ɣ      Butowsky and Zimmerman were not simply Good Samaritans attempting
                to solve a murder. Rather, they were interested in advancing a political
                agenda for the Trump Administration.

         Ɣ      Specifically, it was Butowsky and Zimmerman’s aim to have Wheeler
                confirm that: (i) Seth Rich was responsible for the leak of DNC emails to
                WikiLeaks; and (ii) Seth Rich was murdered by a Democrat operative
                because he leaked the emails to WikiLeaks.

         Ɣ      Butowsky and Zimmerman were not in this alone. Rather, they colluded
                with Sean Spicer, Steve Bannon 1 and Sarah Flores to shift the blame for
                the DNC hacks from the Russians to Seth Rich in order to undermine
                reports of collusion between Russia and the Trump Administration.




         1
                Butowsky has not spoken with Steve Bannon in three (3) years. Wigdor
  and Wheeler simply made this up to further their false narrative that President Trump was
  involved.


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         Ɣ      Simultaneous with baseless claims of nonpartisanship to British
                regulators, Fox was contriving with Butowsky and members of the Trump
                Administration to publish and disseminate fake news to affect politics in
                America.

         Ɣ      Because of Fox and Butowsky’s “devious scheming” British regulators
                have yet to provide a green light to Fox for the Sky takeover bid, and
                many U.K. politicians question whether Fox is capable of news
                dissemination in a fair and neutral manner.

         Ɣ      In falsely quoting Wheeler, Butowsky and Zimmerman attempted –
                through the publication of fake news – to accomplish what they had set
                out to do from the start: “solve the problem about Russians are the ones
                that gave the emails” and establish that “there was no collusion like trump
                with the Russians.”

         Ɣ      Butowsky planned to extort Seymour Hersh in an effort to save the Fox
                News story.

  On August 1, 2017, after setting Folkenflik lose, Wigdor cranked up his own public

  relations machine, and began to further defame Butowsky in main stream media. Wigdor

  and    Wheeler     appeared    on     MSNBC        with    Ari    Melber     (“Melber”).

  [https://www.youtube.com/watch?v=VFTdWAWrocQ].               Melber    republished     the

  interview to his 38,262 Twitter followers and to MSNBC’s 1,975,316 Twitter followers:




  In addition to Twitter, the August 1, 2017 MSNBC broadcast was uploaded to MSNBC’s

  YouTube channel – which has 689,000 subscribers. The video was viewed over 117,000



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  more times. Throughout August 2017, Wigdor continued to appear on television, where

  he published and republished false and defamatory statements about Butowsky. [See, e.g.,

  https://www.youtube.com/watch?v=S2BafRHiuZY             (CNN        Wolf       Blitzer)];

  [https://www.youtube.com/watch?v=d5L-NF6cDOo (CNN with Chris Cuomo)].

          16.   Schwab and its Senior Management saw and/or heard Folkenflik and

  Wigdor’s false and defamatory statements about Butowsky.

          17.   Schwab and its Senior Management did absolutely no due diligence and

  made no effort to determine whether Folkenflik and Wigdor’s statements were true.

          18.   Schwab and its Senior Management blindly accepted Folkenflik and

  Wigdor’s misrepresentations about Butowsky. The suggestion that the President of the

  United States and the “Russians” (Vladimir Putin) would have colluded with Butowsky –

  a person unknown to either the President or Putin and with whom neither the President

  nor Putin has ever communicated – was preposterous.            Schwab and its Senior

  Management knew Wigdor and Folkenflik’s representations were false.

          19.   With actual knowledge of the falsity of Wigdor and Folkenflik’s

  statements and without once considering the impact of their actions on Chapwood, its

  principals, and, most importantly, Chapwood’s clients, the Defendants secretly

  implemented a plan to defame Chapwood and poach its clients.

          20.   On or about August 19, 2017, Jennifer Pello, Schwab’s “relationship

  manager”, informed Butowsky that “Senior Management would like to have a call with

  you.”   When Butowsky asked “why?”, Pello reluctantly advised Butowsky that the

  purpose of the call was to discuss Butowsky’s “political views and Trump”. Butowsky

  was bewildered and curious. He did not know President Trump and had never spoken to




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  him.   Moreover, Butowsky’s “political views” had nothing to do with Chapwood’s

  business as a registered investment adviser and had never been questioned before by

  Schwab. Except for the publicity generated by Folkenflik and Wigdor’s defamatory

  statements, Butowsky could not imagine what Schwab’s Senior Management wanted to

  discuss.

         21.     Butowsky offered dates for a conference call, but the call never happened.

         22.     Instead, beginning in late August 2017 and continuing through January

  2018, the Defendants intentionally violated the Agreement by publishing multiple letters

  directly to Chapwood’s existing clients and former clients – letters that are fraudulent and

  deceitful, laden with half-truths, and that deliberately conceal material facts. The letters

  defame and disparage Chapwood and Butowsky by implication, inference and

  insinuation. For instance:

                 a.      The letters notified clients that Schwab was terminating the

  Agreement and “will no longer honor any authorizations held by Chapwood and its

  principals, employees and agents with respect to your Schwab account”. However,

  Schwab concealed from clients and former clients the reason why the Agreement was

  being terminated: that Schwab, for political reasons and to protect its own self-interest,

  had concluded that it no longer wanted to do business with Chapwood and Butowsky.

  Schwab’s concealment was no small detail. Schwab is the largest custodian of assets in

  the industry. It would have been simple to advise clients and former clients that Schwab

  was terminating the Agreement without cause and for its own convenience. Schwab

  deliberately withheld from Chapwood’s clients the fact that Chapwood had done

  absolutely nothing wrong. The timing of the Schwab letters, coming on the heals of the




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  false narrative published nationally and internationally by Folkenflik and Wigdor of

  collusion with “Trump” and Fox News, coupled with Schwab’s concealment of the true

  reason for terminating the investment management relationship, implied, inferred and

  insinuated, indeed made it plainly appear to Chapwood’s clients (a) that Butowsky had,

  in fact, colluded with the President and Fox to publish “fake news”, (b) that Folkenflik

  and Wigdor’s statements were true, (c) that Chapwood and its principals had engaged in

  serious malfeasance, misfeasance or nonfeasance, and (d) that there was, in fact, good

  cause to terminate Chapwood as Investment Manager. The absence of explanation from

  Schwab created the implication and inference of serious legal and ethical wrongdoing.

  The letters caused consternation and panic. Schwab’s deliberate non-disclosure of the

  reason for the termination was intentional, fraudulent, deceitful and defamatory.

                 b.     In the letters, Schwab told clients (and former clients) that if they

  wanted Chapwood or its representatives to continue to manage their brokerage account,

  “you will need to transfer your account to a broker-dealer or custodian other than

  Schwab”. Clients who chose to maintain an account at Schwab were informed that

  “[y]our statements will no longer have Chapwood listed on them and copies will no

  longer be sent to Chapwood”. These statements made it appear that Chapwood was so

  untrustworthy and so dishonest that Schwab would have nothing to do with Chapwood.

  In truth, it was the Defendants’ goal in sending the letters to both existing clients and

  former clients of Chapwood to cause those clients to maintain their accounts at Schwab

  or open new accounts at Schwab. By means of the half-truths and defamation in the

  letters, the Defendants intended to influence Chapwood’s clients and cause them to do




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  business with Schwab.     Defendants’ motive was to steal Chapwood’s clients and,

  thereby, injure Chapwood’s business.

                c.     Finally, in the letters Schwab informed Chapwood’s clients and

  former clients that Schwab “regret[ted]” the inconvenience caused to the clients, but,

  Schwab emphasized, it took its “obligations as the custodian of client accounts very

  seriously”. These statements further implied, inferred and insinuated that Chapwood had

  engaged in “very serious” wrongdoing and that Schwab, as custodian of the assets, was

  “obligat[ed]” to terminate Chapwood. The letters were carefully written and crafted to

  deceive Chapwood’s clients and to cause them to question Chapwood and Butowsky’s

  honesty and integrity.   The letters achieved their desired effect.   The Defendants

  discredited Chapwood and Butowsky, causing a massive outflow of assets.

         23.    The Defendants’ letters and Chapwood’s unexplained termination placed

  Chapwood and Butowsky in a false and offensive light. The Defendants knew that the

  letters would cast aspersion upon Chapwood and Butowsky. It was the Defendants’

  intent to do so and to take Chapwood’s business.            The Defendants saw the

  Wigdor/Folkenflik defamation as an opportunity to raid Chapwood’s accounts.

         24.    At the same time Defendants contacted Chapwood’s clients and former

  clients, Defendants sent Chapwood the following letter via UPS:




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  Prior to sending the letters to Chapwood’s clients and former clients, the Defendants did

  not afford Chapwood or Butowsky an opportunity to object or even to discuss the matter.

  The Defendants did not afford Chapwood or Butowsky the opportunity to contacts clients

  and let them know ahead of time that Schwab had decided to terminate Chapwood. The

  Defendants’ letters, therefore, came as a hammer blow to clients and former clients, many

  of whom did not understand why they were hearing about the termination for the first

  time from Schwab.       To Chapwood and Butowsky’s dismay, embarrassment and

  humiliation, the way Schwab acted amplified the defamatory implication of the letters.




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         25.     After clients brought the Schwab letters to his attention, Butowsky spoke

  with in-house counsel for Schwab in Austin, Texas.         Schwab’s attorney stated to

  Butowsky that “I heard you were running from the law”. Butowsky asked the lawyer

  to explain the patently false, disparaging and offensive statement. In response, Schwab’s

  agent told Butowsky that “I have a doctor’s appointment that is more important than you.

  I don’t have to talk to you or give you a reason”. The lawyer hung up on Butowsky.

  Upon information and belief, Schwab and its agents made many false, defamatory and

  disparaging statements to Chapwood clients and former clients who contacted Schwab

  directly after August 30, 2017.

         26.     Butowsky pressed for an explanation of Schwab’s conduct. Eventually, he

  spoke with Lewis. Lewis had no real explanation for why Schwab had decided to

  terminate Chapwood.     It was obvious that Schwab had no good cause to terminate

  Chapwood and that Schwab was doing so because of the false narrative about

  Butowsky’s supposed collusion with “Trump”. None of the Defendants ever bothered to

  seek the truth. If they had done any due diligence, they would have learned that there

  was no connection at all between Butowsky and Trump. Lewis told Butowsky that “we

  have processes”. He alluded to an internal “alert” in December 2016 caused by an

  “unusually large wire” that left a customer’s account. Lewis claimed that the wire “got

  the attention of compliance”. That was it. Butowsky scratched his head. No one from

  Schwab ever even contacted Chapwood about this wire in 2016. Lewis quickly moved

  on to something that he said occurred in 2006. Lewis claimed that a sales assistant at

  Chapwood had called Schwab with a client on the line. Lewis said that Schwab was not

  sure if the person on the line was a client, but admitted, when questioned by Butowsky,




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  that this really was “not a problem”. Lewis then referred to something he said occurred

  in 2011. A client, who was building a house, had used a wire request form to send

  multiple wires. The client had simply changed the amount of the wire on the second

  form because all the other information remained the same. When Butowsky asked what

  was wrong with this, Lewis had to admit again that there was nothing improper. That

  was it. Lewis could point to nothing that Chapwood had done or omitted to do that

  justified termination. Lewis concluded the conversation by stating that “we surveyed all

  the Schwab people on the account, and unanimously voted to end the relationship”.

  Butowsky kept asking, “What did we do? What did we do?” Lewis had no answer.

         27.     Throughout the fall of 2017, Schwab continued to send letters to

  Chapwood clients and former clients. The insinuation and implication was clear – there

  was a real problem, an immediate danger, and clients and former clients needed to be

  constantly warned about Chapwood. Chapwood received numerous emails from clients,

  such as the following:




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  Schwab never once advised a single Chapwood’s client that Chapwood and Butowsky

  were free of wrongdoing.     Repetition of the false and defamatory statements about

  Chapwood was unnecessary, insulting and malicious.

         28.    Chapwood diligently searched for another broker-dealer and custodian for

  its clients’ assets. The process was painful. Schwab’s unexplained termination caused

  endless embarrassing and unanswerable questions. Chapwood was rejected by numerous

  companies. Chapwood finally secured a broker-dealer and custodian in early 2018.

         29.    The Defendants’ acts and omissions cast aspersion on Chapwood and

  Butowsky’s honesty, credit, efficiency, prestige and standing in the investment advisory

  business. Chapwood and Butowsky paid a huge price because of the actions of Schwab

  and the individual Defendants’ actions. In addition to a $45,000,000.00 loss of business

  and injury to Chapwood’s good will, substantial increased administrative costs and other

  economic loss and special damages, Chapwood and Butowsky endured insult,

  humiliation, embarrassment and injury to their names and reputations because of the

  Defendants’ letters and published statements.

                           COUNT I – DEFAMATION PER SE

         30.    Chapwood and Butowsky restate paragraphs 1 through 29 of this

  Complaint and incorporate them herein by reference.

         31.    The Defendants made and published to third-parties, including clients and

  former clients of Chapwood, numerous false factual statements, which are detailed

  verbatim above, of or concerning Chapwood and Butowsky. Defendants’ statements are

  half-truths and, therefore, false representations of material facts relating to Chapwood’s

  role as Investment Manager. Considering the words themselves and all circumstances




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  surrounding the making and publication of the letters, Defendants’ statements suggest a

  defamatory meaning in an indirect way, that is, by inference, implication or insinuation.

          32.     The Defendants’ false statements constitute defamation per se.         The

  statements accuse and impute to Chapwood and Butowsky an unfitness to perform the

  duties of an office or employment for profit, or the want of integrity in the discharge of

  the duties of such office or employment.            Defendants’ statements also prejudice

  Chapwood and Butowsky in their profession or trade as investment advisor and manager

  of their clients’ assets.

          33.     The Defendants’ false statements caused Chapwood and Butowsky to

  suffer actual damages, including loss and injury to business, insult, pain, embarrassment,

  humiliation, and injury to name and reputation.

          34.     The Defendants acted with actual malice and reckless disregard for the

  truth for the following reasons:

                  a.          The Defendants acted fraudulently and deceitfully in publishing

          letters to Chapwood’s clients and former clients that contained half-truths and

          concealed material information;

                  b.          The Defendants concocted a story about Butowsky “running from

          the law” that was knowingly false, with not a shred of supporting evidence.

                  c.          The Defendants knew that Chapwood and Butowsky had done

          nothing wrong (indeed they had performed admirably for clients), yet the

          Defendants chose to promote a false narrative that implied dishonesty, unethical

          behavior and breach of duty by Chapwood and Butowsky;




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                 d.      The Defendants had a predetermined agenda to get rid of

         Chapwood and Butowsky based on Folkenflik and Wigdor’s false narrative and to

         poach Chapwood’s clients, and they concealed that agenda from Chapwood’s

         clients and former clients;

                 e.      The Defendants reiterated, repeated and continued to publish

         letters to Chapwood’s clients and former clients out of a desire to hurt Chapwood

         and Butowsky and with reckless disregard for the consequences.

                 f.      The Defendants initiated the defamation and went out of their way

         to publish statements to clients and former clients. The Defendants could have

         communicated termination of the Agreement privately to Chapwood.             The

         Defendants chose to make a public spectacle of the matter, which was calculated

         to insult, embarrass, humiliate and cast aspersion on Chapwood and Butowsky.

         35.     The Defendants lacked reasonable grounds for any belief in the truth of

  their statements and acted negligently in failing to determine the true facts.

         36.     As a direct result of the Defendants’ defamation, Chapwood and

  Butowsky suffered substantial damage and loss, including, but not limited to, loss of

  business and income, injury to good will, insult, humiliation, embarrassment, damage and

  injury to reputation, costs, and other out-of-pocket expenses in an amount to be

  determined by the Jury, but not less than $100,000,000.00.

                       COUNT II – BUSINESS DISPARAGEMENT

         37.     Chapwood and Butowsky restate paragraphs 1 through 36 of this

  Complaint and incorporate them herein by reference.




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         38.    The Defendants published false and disparaging information about

  Chapwood and Butowsky, which is detailed verbatim above.

         39.    The Defendants knew their statements were false and acted with the

  specific intent to disparage Chapwood and Butowsky to clients and to cause clients to

  remain with Schwab.

         40.    None of the Defendants’ statements are privileged. The Defendants had

  no right to publish false and disparaging information about Chapwood or Butowsky. The

  Defendants knew of the falsity of their statements and acted with wanton, intentional and

  reckless disregard concerning publication. The Defendants acted with ill-will and spite

  for Chapwood and Butowsky. They intended to interfere with the economic interests of

  Chapwood and Butowsky in an unprivileged fashion.

         41.    The Defendants’ statements and actions constitute business disparagement

  under Texas law.

         42.    The Defendants’ business disparagement caused Chapwood and Butowsky

  to suffer and incur special damages, including loss of income and business and out-of-

  pocket expenses in an amount to be determined by the Jury, but not less than

  $100,000,000.00.

                      COUNT III – TORTIOUS INTERFERENCE

         43.    Chapwood restates paragraphs 1 through 42 of this Complaint and

  incorporates them herein by reference.

         44.    Chapwood had valid and reasonable contracts and business expectancies

  in its relationships with clients and others with whom Chapwood and Butowsky were in

  active discussions to do new business.




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         45.     The Defendants knew about Chapwood’s contracts and reasonable

  business expectancies.

         46.     The Defendants intentionally interfered with Chapwood’s contracts and

  business expectancies by, inter alia, sending the letters to Chapwood’s customers and

  former customers.     The Defendants’ improper methods, actions and practices were

  fraudulent, defamatory, unethical, oppressive, over-reaching, hostile, and sharp.

         47.     As a direct result of the Defendants’ tortious interference with

  Chapwood’s contracts and valid business expectations, Chapwood suffered damage and

  incurred loss, including, without limitation, injury to its property and business, loss of

  clients and business, loss of good will, increased administrative expense, damage to

  reputation, credit, prestige and standing, court costs, and other damages in an amount to

  be determined by the Jury, but not less than $100,000,000.00.

                           COUNT IV – BREACH OF CONTRACT

         48.     Chapwood restates paragraphs 1 through 47 of this Complaint and

  incorporates them herein by reference.

         49.     Schwab intentionally breach the Agreement when Schwab sent the letters

  directly to Chapwood’s clients and former clients.

         50.     Schwab’s breach of the Agreement caused Chapwood direct and

  consequential damage and loss, including, without limitation, injury to its property and

  business, loss of clients and business, loss of good will, increased administrative expense,

  damage to reputation, credit, prestige and standing, court costs, and other damages in an

  amount to be determined by the Jury, but not less than $100,000,000.00.




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         Chapwood and Butowsky allege the foregoing based upon personal knowledge,

  public statements of others, and records in their possession. Chapwood and Butowsky

  believe that substantial additional evidentiary support, which is in the exclusive

  possession of the Defendants and their agents and other third-parties, will exist for the

  allegations and claims set forth above after a reasonable opportunity for discovery.

         Chapwood and Butowsky reserve the right to amend this Complaint upon

  discovery of additional instances of the Defendants’ defamation and wrongdoing.



                     CONCLUSION AND REQUEST FOR RELIEF

         WHEREFORE, Chapwood and Butowsky respectfully requests the Court to enter

  Judgment against the Defendants, jointly and severally, as follows:

         A.      Compensatory damages in an amount to be determined by the Jury, but

  not less than $100,000,000.00;

         B.      Punitive damages in the maximum amount allowed by Texas law;

         C.      Prejudgment interest on the principal sum awarded to Plaintiff by the Jury

  from August 30, 2017 to the date of Judgment at the maximum rate allowed by law;

         D.      Postjudgment interest at the maximum rate allowed by Texas law;

         E.      Costs;

         F.      Such other relief as is just and proper.



                            TRIAL BY JURY IS DEMANDED



  DATED:         April 20, 2018




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                           CHAPWOOD CAPITAL INVESTMENT
                                MANAGEMENT, LLC
                           ED BUTOWSKY




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                                       (Application for Admission Pro Hac Vice
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  Sherman Division


 ED BUTOWSKY, in his Individual               )
 And Professional Capacities,                 )
                                              )
         Plaintiff,                           )
                                              )
 v.                                           )               Case No.
                                              )
                                              )               TRIAL BY JURY
 DOUGLAS H. WIGDOR,                           )               IS DEMANDED
                                              )
 WIGDOR LLP                                   )
                                              )
 -and-                                        )
                                              )
 ROD WHEELER                                  )
                                              )
         Defendants.                          )
                                              )


                                  COMPLAINT
         Plaintiff, Ed Butowsky, in his personal and professional capacities, by counsel,

 files the following Complaint against Defendants, Douglas H. Wigdor (“Wigdor”),

 Wigdor LLP, and Rod Wheeler (“Wheeler”), jointly and severally.

         Plaintiff seeks (a) compensatory damages, treble damages and punitive damages

 in the sum of $118,000,000.00, (b) prejudgment interest on the principal sum awarded

 by the Jury from June 23, 2017 to the date of Judgment at the rate of five percent (5%)

 per year, (c) attorney’s fees, and (d) costs – arising out of the Defendants’ defamation,

 business disparagement, civil conspiracy, and acts of racketeering activity.




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                                 I. INTRODUCTION




        1.     This is a case about greed, extortion and the malicious, corrupt and

 unethical business practices of Douglas H. Wigdor (“Wigdor”) and his accomplices.

        2.     For well over a year between 2017 and 2018, Wigdor engaged in an

 unrepentant, full-blown, global effort to extort money and concessions from Fox News

 Network LLC and Twenty-First Century Fox, Inc. (collectively, “Fox”) and to destroy

 Fox’s brand, business and value as a public company (NASDAQ: FOXA).              Acting

 individually and in concert with others – including Rod Wheeler (“Wheeler”), a person

 recruited and paid to be a “client”, and David Folkenflik (“Folkenflik”), a media

 correspondent with an axe to grind against Fox – Wigdor used main stream media, print

 media and social media (Twitter, Facebook and YouTube) as weapons to publish,

 republish, tweet, retweet, post, share and promote false and defamatory statements about

 Fox.




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        3.     In June 2017 – with actual knowledge of the falsity of his statements –

 Wigdor maliciously dragged Plaintiff, Ed Butowsky, an innocent citizen, into his war

 with Fox. Wigdor manufactured fake news about Butowsky in furtherance of a scheme

 to extort money from Fox. Butowsky was a very successful investment advisor with a

 stellar reputation and clientele throughout Texas. He was a confident, respected, well-

 liked, magnanimous and jovial colleague, friend, husband and father.             Wigdor

 consciously destroyed Butowsky’s name and reputation and gravely injured his business.

        4.     Beginning in June 2017, Wigdor knowingly manufactured and published

 multiple false and defamatory statements about Butowsky, including that:

        Ɣ      Ed Butowsky colluded with the President of the United States 1 and Fox to
               publish “fake news” – that murdered Democratic National Committee
               (“DNC”) staffer, Seth Rich, leaked certain DNC/Clinton emails to
               WikiLeaks during the 2016 Presidential primaries – in order to obfuscate
               and conceal the “truth”: that President Trump colluded with Russia in an
               attempt to influence the outcome of the Presidential election;

               -and-

        Ɣ      Ed Butowsky aided, abetted and enticed Fox to publish an article that
               fabricated and falsely attributed certain quotations to Wheeler, who was
               investigating the murder of Seth Rich.

 Wigdor published these false and defamatory statements with actual malice. His goal in

 publishing the statements was to extort $60 million in settlements from Fox in sexual

 assault cases that Widgor had filed or was going to file against Fox. At the time he

 published these and many similar false and defamatory statements about Butowsky,




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                In truth, Ed Butowsky has never met the President of the United States.
 Butowsky has never communicated with the President, directly or indirectly, by
 telephone, by email, by text, by direct message, or otherwise. Neither the President nor
 anyone in his Administration has ever asked Ed Butowsky to do anything.


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 Widgor knew the statements were false. Indeed, Widgor manufactured facts that he

 knew to be untrue and suborned Wheeler’s public misrepresentations.

        5.      The intensity, degree and breadth of Wigdor’s media and digital campaign

 of defamation is unprecedented. In his effort to extort Fox, Wigdor knowingly lied and

 intentionally spread those lies to millions upon millions of people world-wide, causing

 massive loss of income and business, insult, injury, mental suffering, embarrassment and

 humiliation to Butowsky.

        6.      In this case, Ed Butowsky seeks money damages for the destruction of his

 good name and reputation. Wigdor operated a fake news cartel. He recklessly embroiled

 an innocent Texas citizen in his war against Fox. He went to unimaginable lengths to

 commit extortion. Wigdor’s unquestionable defamation, conspiracy, acts of racketeering

 activity, misconduct and indiscriminate use of the press and social media to defame must

 be stopped. Wigdor holds a law license. Wigdor has committed criminal or deliberately

 wrongful acts that reflect adversely on his honesty, trustworthiness or fitness to practice

 law.     He has engaged in conduct involving dishonesty, fraud, deceit and

 misrepresentation. He and his associates cannot be allowed to create fake news and use

 the press and social media as a weapon to disseminate those false narratives. Wigdor and

 Wheeler should be punished for their unlawful actions and a very strong message needs

 to be sent to prevent others from acting in a similar way.

                                       II. PARTIES

        7.      Plaintiff, Ed Butowsky (“Butowsky”), is a citizen of Texas. Butowsky is

 56 years-old. He resides with his family in Plano, Texas. He has a long history of

 generously helping people in need. Butowsky is an internationally recognized expert in




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 the investment wealth management industry.       He has been in the financial services

 industry for over twenty-nine (29) years. He started his career with Morgan Stanley,

 where he was a Senior Vice President in private wealth management. In his eighteen (18)

 years with Morgan Stanley, Butowsky was the firm’s top producer nationally as well as

 the first advisor to surpass one billion dollars in assets under management. He was

 recognized as a member of both the Chairman’s Club and the Equity Club at Morgan

 Stanley, a distinction reserved for only the firm’s top advisors. In 2005, Butowsky

 launched Chapwood Investments, LLC, a Plano, Texas-based, private wealth

 management advisory firm focused on providing comprehensive financial counseling and

 investment advice to wealthy families and individuals.         He was nominated as Top

 Financial Advisor in the World by Reuters in 2007. Through his work with professional

 athletes, Butowsky was prominently featured in both the ESPN Movie, Broke

 [https://www.youtube.com/watch?v=1IhmiE Hs0I],          and     the      blockbuster    Sports

 Illustrated    article,    “How       (and       Why)         Athletes       Go        Broke”.

 [https://www.si.com/vault/2009/03/23/105789480/how-and-why-athletes-go-broke].

         8.    Prior to Wigdor’s character assassination, Butowsky was a frequent guest

 on CNN, ABC, CBS, NBC, CNBC, Fox Business News, FOX News Channel,

 Bloomberg TV, and China TV.        Butowsky had made hundreds of appearances on

 national television and was often seen on “Varney and Co”, “Closing Bell”, “Street

 Signs”, “Your World w/ Cavuto”, “America Live” with Megyn Kelly, “Willis Report”,

 “America’s News HQ”, “Taking Stock” with Pimm Fox, TheBlaze TV with Glenn Beck,

 and “Wilkow!” with Andrew Wilkow. He was also regularly heard on radio shows

 around the country such as “Mad Dog Radio” and “Bloomberg Radio”, discussing wealth




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 management, and other subjects that are of interest and timely related to the

 finance/investments world.

        9.     Prior to the global smear campaign orchestrated by Wigdor, Butowsky

 enjoyed an untarnished personal and professional reputation in the community in which

 he lives and works, with clients, with colleagues in business, and with his many friends.

 Wigdor and Wheeler’s defamation spread like wildfire throughout mass media, social

 media and over the Internet, causing Butowsky to be ostracized, causing enormous loss

 of business (including, without limitation, the termination and loss of Chapwood’s

 Investment Manager Service Agreement with Charles Schwab), and causing Butowsky

 substantial personal injury, fear, and mental and physical pain and suffering. Butowsky

 has received death threats to his family, damage to his home in Plano, and thousands of

 ad hominem attacks. The ugly effect and impact of Wigdor’s defamation is captured by

 the following Facebook post by Butowsky’s daughter, Lauren:




 Butowsky and his family were attacked mercilessly on social media. “Matt Thomas” sent

 the following messages to Butowsky’s wife and son via Facebook:




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 “MattThomas_zoso” tweeted the following:




 Other tweets were far worse. Wigdor’s defamation devastated Butowsky.




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        10.     The Defendants are individuals, and/or a group of individuals associated

 in fact and who are part of a fake news cartel (a RICO enterprise) that engages in

 interstate commerce by the use of one or more instrumentalities, including, but not

 limited to, the Internet, computers and telephone, mails and facsimile. Through a pattern

 of racketeering activity, involving acts or threats of extortion chargeable under State law

 and punishable by imprisonment for more than one year, mail fraud and wire fraud in

 violation of Title 18 U.S.C. §§ 1341 and 1343, the Defendants have maintained, directly

 or indirectly, an interest in or control of an enterprise which is engaged in, or the

 activities of which affect, interstate commerce. While employed by or associated with

 such enterprise, the Defendants conducted or participated, directly or indirectly, in the

 conduct of such enterprise’s affairs through a pattern of racketeering activity.       The

 Defendants have engaged in activity that is prohibited by Title 18 U.S.C. §§ 1962(b), and

 1962(c).

        11.     Defendant, Wigdor, is an individual who is a citizen of New York. He is a

 partner of Defendant, Wigdor LLP, a New York registered limited liability partnership

 (Widgor and Wigdor LLP are collectively referred to hereinafter as “Wigdor”). Jeanne

 M. Christensen (“Christensen”) and Michael J. Willemin (“Willemin”) are partners of

 Wigdor. None of Wigdor’s partners is a citizen of Texas.

        12.     At all times relevant to this action, Wigdor knew that Butowsky lived and

 worked in Texas. Wigdor knew that Butowsky managed a registered investment advisor

 in Texas. Wigdor knew that the publication of false and defamatory statements would

 injure Butowsky’s business and personal interests in Texas.          Wigdor purposefully

 published statements that hurt Butowsky in Texas.




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           13.     Wigdor operates and is associated with a fake news cartel that includes

 main stream media outlets used by Wigdor to further the cartel’s nefarious purposes.

 Although Wigdor masquerades as a law firm, Wigdor employs criminal means to shake

 down targeted victims. Wigdor is proud of his methods and openly brags about his

 “press strategy”. [See infra]. Although Wigdor is an attorney, most of his time is spent in

 front of cameras or giving incendiary interviews to MSNBC, CNBC, CNN, the New

 York Times, Bloomberg Businessweek, and many other main stream media outlets, in

 which Wigdor vigorously promotes himself and his causes, especially his “crusade”

 against Fox. Wigdor uses the “court of popular opinion” – i.e., the press and social

 media – to extort money, property and concessions from his enemies. Wigdor’s war

 against Fox is featured front and center on Wigdor’s website and on his YouTube channel

 – Wigdor LLP – Employment Lawyer NYC – where publishes sound bites and personal

 praise. [https://www.youtube.com/channel/UCeogDStcI35nkzCJYNatVBQ].

           14.     Wigdor claims to be a specialist in sexual harassment and assault cases.

 His website, inter alia, notes that he has represented “over 20 employees at Fox News in

 their claims of gender discrimination, race discrimination, retaliation and defamation

 against     the   network”.     [https://www.wigdorlaw.com/portfolio/douglas-h-wigdor/].

 Wigdor’s website formerly represented that:

           “Mr. Wigdor currently represents thirteen clients who have alleged racial
           discrimination against Fox. Mr. Wigdor also represents Rod Wheeler, a Fox
           contributor in an ‘explosive’ lawsuit alleging defamation in connection with a
           story published about murdered DNC staffer Seth Rich, Scottie Nell Hughes, a
           former Fox contributor in a lawsuit alleging retaliation after she complained of
           sexual assault by Fox Business host Charles Payne, and Lydia Curanaj, a Fox5
           reporter in a lawsuit alleging gender and pregnancy discrimination against Fox
           News. The lawsuits join a succession of sexual harassment allegations made
           against Fox, and have been extensively reported on by both national and
           international media and referred to as a ‘Normandy like’ legal assault.”



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  Wigdor operates an active website that targets citizens of Texas, and encourages them to

  call Wigdor for advice and representation.

            15.     Wigdor is a sophisticated expert who litigates his cases in the press. He is

  a high net worth individual, who has sufficient assets and net worth to pay punitive

  damages in the maximum amount permitted under Texas law.

            16.     Defendant, Wheeler, is a citizen of Maryland. Wheeler is a disgraced DC

  police officer, who was terminated from his position in 1995 because of a history of

  distorting and misrepresenting facts. Wheeler was suspended from the police force after

  testing positive for marijuana in a random drug test. Eventually, he was dismissed. After

  working for McDonalds for some time, Wheeler became a “crime analyst”. Wheeler is

  infamous for a story he concocted about an underground network of “pink pistol packing

  lesbian gangs” in the United States. [https://www.splcenter.org/fighting-hate/intelligence-

  report/2007/rod-wheeler-claims-o%E2%80%99reilly-factor-lesbian-gangs-are-raping-

  young-girls]. Although Wheeler held himself out to Butowsky and claimed to be a

  “private investigator”, in truth, as Butowsky learned after-the-fact, Wheeler has no

  license. All traces of Wheeler’s “investigative” firm, Capitol Investigations, LLC, have

  been      wiped    from   the   Internet.   https://www.washingtoncitypaper.com/news/city-

  desk/article/20863214/nownotorious-private-investigator-in-seth-rich-case-is-unlicensed-

  in-dc].

            17.     This action involves the Defendants’ conscious decision to fabricate a

  false narrative and manufacture claims against Butowsky to extort settlements of putative

  “discrimination” claims that Widgor had filed or planned to file against Fox. The nature




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  of the Defendants’ racketeering activity, its continuity, relatedness and breadth, and the

  threat that it will continue indefinitely in the future is described below in this Complaint.

                            III. JURISDICTION AND VENUE

         18.     The United States District Court for the Eastern District of Texas has

  subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 (Federal

  Question), 28 U.S.C. § 1332 (Diversity Jurisdiction), and 28 U.S.C. § 1367

  (Supplemental Jurisdiction). The parties are citizens of different States and the amount in

  controversy exceeds the sum or value of $75,000, exclusive of interest, costs and fees.

         19.     The Defendants are subject to specific personal jurisdiction in Texas.

  They committed multiple acts of defamation and intentional torts, in whole or part, in

  Texas. They have minimum contacts with Texas such that the exercise of personal

  jurisdiction over them comports with traditional notions of fair play and substantial

  justice and is consistent with the Due Process clause of the United States Constitution.

  Defendants’ defamation was purposefully directed at Texas and was continuous and

  systematic. Butowsky’s claims directly arise from and relate to Defendants’ publication

  of false and defamatory statements in Texas. E.g., TV Azteca v. Ruiz, 490 S.W.3d 29

  (Tex. 2016) (citing Keeton v. Hustler Magazine, Inc., 465 U.S. 770 (1984) and Calder v.

  Jones, 465 U.S. 783 (1984)).

         20.     Venue is proper in the Sherman Division of the United States District

  Court for the Eastern District of Texas because Wigdor, Wheeler and their agents

  published and republished defamatory statements to a wide audience that includes

  persons who reside within the Sherman Division. Wigdor and Wheeler’s defamation

  caused substantial harm to Butowsky’s personal and professional reputations in Texas. A




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  substantial part of the events giving rise to the claims stated in this action occurred in the

  Eastern District of Texas.

                       IV. STATEMENT OF MATERIAL FACTS

  A.     Wigdor and Wheeler Had Actual Knowledge That Their Statements Were False
         – They Defamed And Disparaged Butowsky In Spite Of That Knowledge

         21.     At all times relevant to this action, Wigdor and Wheeler had actual

  knowledge that their written and oral statements about Butowsky were false. Widgor and

  Wheeler knew Butowsky had never colluded with the President of the United States or

  with Fox to publish “fake news”. Indeed, Wigdor and Wheeler had no evidence that the

  President even knew Butowsky. Wigdor also knew that Butowsky had never supported

  an effort by Fox to fabricate and falsely attribute quotations to Wheeler – indeed, Wigdor

  knew – actually knew – that Wheeler had been accurately quoted by Fox.

         22.     Anyone in the same or similar circumstances as Wigdor in June 2017

  would have harbored serious doubt as to whether the statements of his “source”, Wheeler,

  were true. Yet, in spite of the facts known to Wigdor, he and Wheeler proceeded upon a

  course of action in furtherance of a joint plan that was intended to profit Wigdor and

  Wheeler and destroy the good name and reputation of Butowsky.

         23.     The truth was well-known to Wigdor and Wheeler, not only from

  Wheeler’s own text messages and emails (described in detail below), but from public

  records (including videos in which Wheeler appeared and audio recordings) readily

  available to Wigdor on the Internet.

         24.     Even if Wigdor had completely ignored (a) Wheeler’s text messages and

  emails and other evidence in Wigdor’s possession, and (b) the video and audio recordings

  and other information publicly available on the Internet, on June 27, 2017 Wigdor



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  received a letter from counsel for Butowsky, David B. Harrison, Esquire (“Harrison”)

  that put Wigdor on actual notice of the falsity of his statements about Butowsky.

         25.      On June 23, 2017, Wigdor invited Harrison to review a draft of a lawsuit.

  Wigdor’s invitation was unsolicited and there were no settlement negotiations ongoing.

  Wigdor published the draft document to Harrison at Wigdor’s law office. Harrison was

  shocked. On June 27, 2017, Harrison prepared and delivered to Wigdor a letter in

  response to statements Wigdor published in the draft lawsuit. Harrison’s letter expressly

  stated how and why the statements made by Wigdor and Wheeler about Butowsky were

  false and utterly groundless. Harrison’s letter put Wigdor on actual notice of the truth,

  including the fact that there was no collusion with the President and that Wheeler himself

  had authorized the very quotations that Wigdor claimed that Butowsky and Fox had

  “fabricated”.   Significantly, Harrison warned Wigdor that filing a lawsuit against

  Butowsky that contained the fabricated facts concerning collusion with the President and

  Fox would subject Wigdor to sanctions. Harrison emphasized to Wigdor:




         26.      Wigdor’ misconduct was egregious.         Wigdor intentionally ignored

  Harrison’s admonition and all the documentary evidence. Wigdor checked his common

  sense at the door and chose to manufacture a totally make-believe fake news story about

  Butowsky to further Wigdor’s war against Fox. Wigdor chose to attempt to extort Fox

  and Butowsky with threats to file the bogus lawsuit.



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  B.      Background – The Murder of Seth Rich

          27.   In the early morning hours of July 10, 2016, a Democratic National

  Committee (“DNC”) staffer named Seth Rich (“Rich”) was shot twice in the back and

  badly beaten. Police arrived on the scene almost immediately, but Rich’s killers were

  already gone. The killers left no shell casings and no trace evidence. Rich later died in

  hospital. At about 4:19 a.m., the 27-year-old Rich spoke to his girlfriend, Kelsey Mulka

  (“Mulka”), over the phone as he walked home from a bar. As the couple talked, Mulka

  heard voices on the other end. Rich abruptly ended the call. He was steps away from his

  Washington D.C. apartment. http://www.latimes.com/business/hollywood/la-fi-ct-seth-

  rich-conspiracy-20170523-htmlstory.html]. “There had been a struggle. His hands were

  bruised, his knees are bruised, his face is bruised, and yet he had two shots to his back,

  and yet they never took anything,” Rich’s mother, Mary, told NBC shortly after his death.

  https://www.nbcwashington.com/news/local/Man-Shot-Killed-in-Northwest-DC-

  386316391.html]. 2

          28.   There is no evidence that Rich’s death had anything to do with Russians or

  Russian hacking. [See, e.g., http://www.newsweek.com/donna-brazile-book-seth-rich-

  russia-white-clinton-705424 (“the FBI said that they did not see any Russian fingerprints

  there”)].


          2
                 Seth Rich’s neighbor, Mark Mueller (“Mueller”), claims he heard sharp
  gun shots at 4:19 a.m., and saw the police tending to Seth Rich in the street. At a vigil
  days after Rich’s murder, Mueller made the following public statements: “I was there
  when he got shot, and they walked him past me, so I could see him and identify him as I
  knew him in the neighborhood. And the police officer said, ‘he didn’t even know he was
  shot’”. [see, e.g., https://twitter.com/joshdcaplan/status/874321849701806081/video/1;
  http://www.thegatewaypundit.com/2017/06/alleged-eyewitness-seth-rich-murder-didnt-
  even-know-shot-video/]. Wheeler never interviewed Mueller in connection with the
  murder investigation he undertook for the Rich family.


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         29.     Starting on July 22, 2016 – twelve days after Rich’s death – WikiLeaks

  released over 44,053 emails and 17,761 attachments from top DNC officials – as part one

  of Wikileaks’ “Hillary Leaks series”. [https://wikileaks.org/dnc-emails/]. 3

         30.     The founder of Wikileaks, Julian Assange (“Assange”), told Ellen Ratner 4

  (“Ratner”) that the Hillary email leaks were not the result of Russian hacking. Rather,

  the leaks were from an “internal source” from within the Hillary Clinton campaign or

  from someone who knew Hillary Clinton, i.e., Seth Rich. Assange told Ratner that

  “Russian got credit for something that WikiLeaks should have gotten credit for.”

  [https://www.youtube.com/watch?v=0M3Z4eE6cJA].

         31.     On    August    9,   2016,   Assange    appeared    on    Dutch   television.

  [https://www.youtube.com/watch?v=Kp7FkLBRpKg]. Assange was asked the following

  question, “The stuff you are sitting on. Is an October surprise in there?” Assange

  volunteered information about Seth Rich:

                 “ASSANGE:             … Wikileaks never sits on material.         Our
         whistleblowers go to significant efforts to get us material and often very
         significant risks. There was a 27-year old who works for the DNC. He was shot
         in the back, murdered just two weeks ago for unknown reasons as he was walking
         down the street in Washington.

                 DUTCH HOST:            That was just a robbery I believe, wasn’t it?

                 ASSANGE:               No, there is no finding.


         3
                 Julian Assange confirmed that Russia was “absolutely not” involved in the
  leak of the DNC emails. [See e.g., https://www.youtube.com/watch?v=CuRJDKEVxHY
  (Video at 1:34)].

         4
                  Ellen Ratner is a journalist who has covered four U.S. Presidents. She
  serves as the Washington Bureau Chief for Talk Media News. On Fox, Ratner has
  appeared on The Strategy Room and The Long and Short. She is known for exposing bias
  in the media and chastising the mainstream press for its shortcomings.
  http://ellenratner.com/about-ellen-ratner/]. Ellen Ratner is the sister of Julian Assange
  and WikiLeaks’ long-time US lawyer (now deceased), Michael Ratner.


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                DUTCH HOST:           What are you suggesting?

               ASSANGE:              I am suggesting that our sources take risks and they
         become concerned to see things occurring like that.

                DUTCH HOST:           Was he one of your sources then? I mean…

                ASSANGE:              We don’t comment on who our sources are.

                DUTCH HOST:             Then why make the suggestion about a young guy
         being shot in the streets of Washington?

                 ASSANGE:               Because we have to understand how high the stakes
         are in the United States and our sources face serious risks. That’s why they come
         to us so we can protect their anonymity.

                 DUTCH HOST:           But its quite something to suggest a murder and that
         is basically what you are doing.

                 ASSANGE:               Well others have suggested that.        We are
         investigating to understand what happened in that situation with Seth Rich. I
         think it is a concerning situation. There isn’t a conclusion yet. We wouldn’t be
         willing to state a conclusion, but we are concerned about it. And more
         importantly [nearing tears] a variety of Wikileaks sources are concerned when
         that kind of thing happens.”

  On August 10, 2016, Wikileaks offered a $20,000 reward for information leading to the

  arrest of the killers of Seth Rich. [www.telegraph.co.uk/news/2016/08/10/wikileaks-

  offers-20000-reward-over-murder-of-democrat-staffer-se/].

  C.     Wigdor Knew Butowsky Had Limited Involvement In Wheeler’s Investigation

         32.    In early 2017, Butowsky contacted the family of Seth Rich to help the

  family investigate their son’s unsolved murder. Butowsky graciously offered to pay for a

  private investigator.   [https://soundcloud.com/siriusxm-news-issues/ed-butowsky-seth-

  richs-death]. Butowsky also donated $250 to a GoFundMe campaign started by Rich’s

  brother, Aaron Rich, to raise money, inter alia, to maintain and increase the reward for




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  information     leading    to   an    arrest        and   conviction   of   Rich’s   killer.

  [https://www.gofundme.com/SethRich].

         33.      On February 23, 2017, Butowsky contacted Wheeler via text message to

  see if Wheeler would be interested in investigating the murder. Butowsky did not know

  Wheeler, but had seen him on television.             Wheeler appeared to be a competent

  investigator.

         34.      Wheeler entered into a contract with the Rich family (specifically, with

  Aaron Rich, Joel Rich and Mary Rich) to investigate the murder of Seth Rich. As

  Wheeler stated to FetchYourNews:




  [http://fetchyournews.com/tag/rod-wheeler/]. Butowsky is not a party to the contract and

  has never seen the contract.

         35.      Butowsky did not participate in Wheeler’s investigation and had very little

  communication with Wheeler.

         36.      Wheeler confirmed Butowsky’s limited involvement in the investigation.

  Wheeler represented to Sean Hannity on May 16, 2017 that “I was hired by the family,

  Joel and Mary Rich. They signed the contract. Now, the financial benefit if there were

  any financial benefit and by the way there wasn’t much, that was actually paid for by a

  third party that I have had very little communication with at all, Sean”.

  [https://www.youtube.com/watch?v=CuRJDKEVxHY (emphasis added)].



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         37.    On March 1, 2017, Wheeler told Butowsky that he (Wheeler) had

  independently acquired some “dynamic information” from one of his sources, the “lead

  detective” on the Seth Rich murder case. Wheeler also claimed that he had learned and

  knew who was “blocking the investigation”. Wheeler texted Butowsky as follows:




  Wheeler told Butowsky that he was meeting with “2 inside contacts” on March 2, 2017.

         38.    On March 31, 2017, Wheeler appeared on television on Fox 5 DC.

  Wheeler uploaded and published the interview to his YouTube channel, Rod Wheeler.

  [https://www.youtube.com/user/4apryl]. He called the video “Fox 5 DC Seth Rich Death

  Rod Interview”. [https://www.youtube.com/watch?v=D nsLuFyb60].

         39.    In this interview, Wheeler announced that the Rich family had engaged

  him to help the police look into the murder because, according to Wheeler, “they [the

  Rich family] really just don’t have a clue”. Wheeler said he had been investigating the

  matter over the “past three weeks”.




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         “[T]here has been a lot of reward money that’s been offered for any information.
         No one has come forward. So here is the thing that is so important to realize
         whenever you have a lot of reward money, in this case it is over $125,000, and
         you don’t have anyone coming forward with information. Then what that tells
         you as an investigator is that maybe you need to start looking at another cause or
         another reason as to why this guy was killed and that’s what we’re doing now.
         We’re looking at uh possibly of course a street robbery, but it could, and I
         underline the word could, it could have been related, his death to his job, it could
         have been related to something else. what I don’t think it was related to
         though Allison is this Russian hacking thing.”

  (Emphasis added).     After the interviewer pointed out to Wheeler that people were

  “hinting at the fact that perhaps Seth Rich may have given some documents [to

  Wikileaks]”, Wheeler, voluntarily and of his own free will, stated as follows:

         “Well a lot of people have made that same observation and you have to ask
         yourself what is the motivation behind a person wanting to get involved and offer
         reward money, maybe he’s just a good guy and he has a lot of money laying
         around so this how he wants to spend his money, but you have to be careful
         though when you start throwing out these conspiracy theories, they actually don’t
         help the investigation at all … I haven’t found one shred of evidence at all that
         indicates that Seth’s death is the result of any Russian hacking or anything
         like that. I do think it’s possible and I underline the word possible that it could
         have been related to his job to some degree or relationships with the job, don’t
         know that for sure but for investigators we have to go down every path until we
         can determine who was responsible for his death”.

  (Emphasis added).

         40.     Malia Zimmerman (“Zimmerman”) is an award-winning investigative

  reporter employed by FoxNews.com.         Her reports for Fox largely deal with crime,

  terrorism in the U.S. and overseas, homeland security, illegal immigration, and political

  corruption. [http://www.foxnews.com/person/z/malia-zimmerman.html].

         41.     Wheeler met Zimmerman in late February 2017.

         42.     After he appeared on Fox 5 DC, Wheeler updated Zimmerman concerning

  his investigation.




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         43.    Specifically, Wheeler advised Zimmerman that as a result of his

  investigation he (Wheeler) was prepared to say that Rich’s murder was not the result of a

  “botched street robbery”. Wheeler further offered to Zimmerman that his investigation

  revealed a “coverup within the D.C. Govt” related to Rich’s death.

         44.    Wheeler and Zimmerman’s exchanged text messages:




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          45.       Despite actual knowledge that Butowsky had little communication with

  Wheeler and no role in the murder investigation, Wigdor and Wheeler misrepresented

  that Butowsky was heavily involved and fed Wheeler information.

  D.      Wigdor Knew The President Was NOT Involved In Anything

          46.       On April 18, 2017, Butowsky sent Wheeler a text message, inquiring

  whether Wheeler would be in DC on Thursday, April 20. Butowsky planned to meet

  with White House Press Secretary, Sean Spicer (“Spicer”).

          47.       Wheeler had been asking Butowsky nonstop to get him an interview, so he

  (Wheeler) could get a job in the White House. 5 Butowsky asked Wheeler to put together

  a summary of his findings to date, and to bring the report with him to the meeting.

  Butowsky emailed Spicer, and asked for a 10-minute meeting, with no specified topic, to

  catch up. Butowsky informed Spicer that he would be bringing a Fox News contributor

  to the meeting.

          48.       The meeting with Spicer lasted 10-15 minutes. Most of the time was spent

  talking about shirts. Butowsky and Spicer bought their shirts from the same source:

  Jacomo Hakim’s Bookatailor. At the meeting, Butowsky and Wheeler, inter alia, told

  Spicer that they were working on a story about Seth Rich and wanted Spicer to be aware

  of it – that was it.




          5
                  See, e.g., https://www.youtube.com/watch?v=NaNhtlS2GxE (recording of
  phone call in which Wheeler expresses a desire to be employed by the White House –
  Wheeler states: “the President can appoint me as an administrator to the President … to
  specifically report to him and start taking a look at all of these cases. He can do it.
  Because someone needs to reign this stuff in and Trump is the person to do it … Whether
  you like Obama or not, for eight years I think this corruption has been allowed to
  manifest. Now we got a new President in there and they can’t be as corrupt as they used
  to be, and that’s messing with people’s minds.”).


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         49.     The President of the United States was not at the meeting and Spicer did

  not inform the President about the meeting.

         50.     Wigdor has never had any evidence of any connection between Butowsky

  and the President because there is no connection whatsoever. In the total absence of any

  evidence, Wigdor chose to fabricate facts. Wheeler advised Wigdor that he (Wheeler)

  had no evidence of any collusion between Butowsky and the President. In spite of

  Wheeler’s admission and acknowledgment, Wigdor chose to manufacture a fake

  narrative that included, inter alia, “collusion” between Butowsky and the President.

  E.     Wigdor Knew Wheeler Interviewed Lead DC Detective Dellacamera

         51.     On April 25, 2017, Wheeler interviewed Detective Joseph Dellacamera,

  the lead DC Detective investigating the murder of Seth Rich.

         52.     Wheeler’s notes of the interview state as follows:




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  F.     Wigdor Knew About Marina Marraco

         53.    On May 11, 2017, Zimmerman sent Wheeler a rough draft of a story

  regarding the Seth Rich murder.

         54.    In the interim between February and May 2017, Butowsky got to know

  Wheeler and developed a bond with the “private investigator”. Butowsky knew that



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  Wheeler really wanted to work at the White House. On May 14, 2017, Butowsky sent

  Wheeler a text message in which Butowsky joked that “[n]ot to add any more pressure

  but the president [Donald Trump] just read the [Zimmerman’s] article. He wants the

  article out immediately. It’s now all up to you. But don't feel the pressure”. Wheeler

  knew Butowsky was joking.

         55.     Wheeler had a crush on Fox 5 DC correspondent, Marina Marraco

  (“Marraco”).   Wheeler called Marraco.      He gave Marraco a copy of the draft of

  Zimmerman’s article.

         56.     On May 15, 2017, Marraco interviewed Wheeler concerning his

  investigation of Seth Rich’s murder and his findings to date as part of a Fox 5 DC

  “exclusive”. [https://www.youtube.com/watch?v=x48PeHvTddc].          Wheeler made the

  following unqualified statements on camera to Marraco:

                 “MARINA MARROCO:              Today Fox 5 has learned there is new
         information that could prove these theorists right. New information from the
         family’s private investigator suggests there is tangible evidence on Seth Rich’s
         laptop that confirms he was communicating with Wikileaks prior to his death.
         Now the question is why has DC police as the lead agency on the investigation for
         the past 10 months insisted this was a botched robbery when until this day there is
         no evidence to suggest that. The Rich family hired Rod Wheeler a former MPD
         homicide detective to run a parallel investigation into their son’s death. Wheeler
         says he believes there is a cover up and the police department has been told to
         back down from the investigation.

                 WHEELER:               Neither the police department nor the FBI have
         been forthcoming. They haven’t been cooperating at all. I believe that the answer
         to solving his death lies on that computer, which I believe is either at the police
         department or at the FBI. I’ve been told both. 6

                MARINA MARRACO:               But you have sources at the FBI saying
         that there is information …


         6
                   Actually, Wheeler had been told that Aaron Rich had the computer.
  [https://twitter.com/wikileaks/status/892494677823434753?lang=en].


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                  WHEELER:             For sure …

                  MARINA MARRACO:              That could link Seth Rich to Wikileaks?

                 WHEELER:                Absolutely, yeah, and that’s confirmed. Actually,
          I have a source in the police department that has looked at me straight in the eye
          and said ‘Rod we were told to stand down in this case and I can’t share any
          information with you’. Now that is highly unusual for a murder investigation,
          especially from a police department. Again, I don’t think it comes from the
          Chief’s office, but I do believe there is a correlation between the Mayor’s office
          and the DNC, and that’s the information that is going to come out tomorrow.”

  (Emphasis added).        When asked by a Fox 5 DC anchor whether there would be

  “evidence” to prove the statements made by Wheeler, Marraco stated as follows:

                  “MARINA MARRACO:          … Rod Wheeler, the investigator, assures us
          Fox 5 and assures Fox News that there’s a full report that contains information
          that will show how many times Seth Rich made contact with Wikileaks and will
          show exactly when this communication took place.” 7

  G.      Wigdor and Wheeler Knew That Fox Had Accurately Quoted Wheeler – Yet,
          In Spite Of That Knowledge, They Represented That Wheeler Had Been
          Misquoted By Zimmerman In The Fox News Article Published on May 16

          57.     On May 15, 2017, Wheeler was in contact with Zimmerman multiple

  times about the article Zimmerman was writing for Fox News.

          1.      The First Email

          58.     At 1:20 p.m. on May 15, 2017, Zimmerman emailed Wheeler a “current

  draft” of the article:




          7
                 In an audio recording published on YouTube on July 12, 2017, Wheeler
  claimed that Marraco had tricked him, that she took things out of context, that she did not
  “play” the whole tape of the interview, that he (Wheeler) did not know he was being
  recorded. [https://www.youtube.com/watch?v=2p8at6PD4L8].


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         59.     Wheeler received Zimmerman’s email.

         60.     Zimmerman’s May 15 “current draft” contained the following words:




         61.     Zimmerman’s May 15 “current draft” attributed the following quotes to

  Wheeler:




         62.     Wheeler did not deny the quotes or object to anything Zimmerman had

  written in the “current draft”.

         63.     Wheeler was actively involved in supplying information to Zimmerman.

  Far from denying anything in the May 15 “current draft”, Wheeler offered Zimmerman

  further quotes, including the following:




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         64.      Wheeler did not inform Zimmerman that any of his quotes were

  inaccurate in any way.

         65.      If he had objected to anything Zimmerman wrote, Wheeler had a duty to

  be truthful. In good conscience, Wheeler should have informed Zimmerman of any

  inaccuracies.


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          66.     Wheeler knew Zimmerman and Fox were relying on Wheeler to be

  truthful and honest.    The quotes were either accurate or Wheeler was defrauding

  Zimmerman and Fox by his silence.

          2.      The Second Email

          67.     At 3:59 p.m. on May 15, 2017, Zimmerman emailed Wheeler a revised

  draft of the article.

          68.     The subject line of Zimmerman’s 3:59 p.m. email expressly advised and

  instructed Wheeler to “please read carefully” (emphasis added):




          69.     The revised 3:59 p.m. draft of Zimmerman’s article made the following

  statement about Wheeler:




          70.     The revised 3:59 p.m. draft of Zimmerman’s article contained the

  following quotes attributed to Wheeler:




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          71.      After sending her email with the revised article, Zimmerman texted

  Wheeler via iMessage to confirm that he had received the revised article and that he

  could read it.

          72.      Wheeler confirmed that he had received Zimmerman’s email and that he

  had read the revised article.

          73.      Far from denying any quotes attributed to him WHEELER OFFERED

  ZIMMERMAN FURTHER QUOTATIONS!!!:




          74.      At no point in time did Wheeler ever deny making the statements quoted

  by Zimmerman. In fact, when Zimmerman asked Wheeler if she could use the quotes,

  Wheeler responded as follows:




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         75.     Wheeler never hesitated, never equivocated, never prevaricated, and never

  denied the quotes.

         76.     Wheeler never attempted to correct, amend, clarify, or retract the quotes.

         3.      The Third Email

         77.     At 4:47 p.m. on May 15, 2017, Zimmerman sent Wheeler a third email

  that included the final draft of the article. Zimmerman’s email specifically advised

  Wheeler that the draft had been “turned in” to her editors:




         78.     This was Wheeler’s third and final chance to deny the quotes.

         79.     Wheeler made no attempt to stop the presses.

         80.     The final draft of Zimmerman’s article, emailed to Wheeler at 4:47 p.m.

  on May 15, 2017, contained the following quotes attributed to Wheeler:




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         81.     In addition to the emails and text message exchanges, Wheeler confirmed

  verbally to Zimmerman that the article accurately quoted him, and Wheeler expressed his

  support for the story. These statements occurred on conference calls several days before

  publication of Zimmerman’s story, including telephone conversations that took place on

  May 10, 2017 (10:30 am), May 11, 2017 (9:52 am and 10:12 am), and May 15, 2017

  (11:22 am and 1:13 am).

         82.     Wheeler also confirmed verbally to Butowsky that he had independently

  formed the belief, before publication, that there were email communications between

  Seth Rich and Wikileaks.

         83.     Prior to publishing false and defamatory statements about Butowsky,

  Wigdor knew about Wheeler’s text messages and his email communications with

  Zimmerman on May 15, 2017 because he had received copies from Wheeler.

         84.     In his blind desire to extort money from Fox, Wigdor intentionally and

  maliciously disregarded the very record before him.       Instead, disregarding even the

  advice of his own client, Wigdor fabricated a story that Butowsky colluded with the

  President, Spicer, Fox, Zimmerman and others to publish fake news about Seth Rich to

  distract from the “real” story – Russian collusion. Wigdor thought that his false narrative

  would put so much pressure on Fox that Fox would settle the Wigdor Discrimination

  Suits (defined below) and pay Wigdor $60,000,000.00.




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  H.     Wigdor Knew About Wheeler’s Representations To Hannity and Dobbs

         85.    On May 16, 2017, in the early morning, Fox published Zimmerman’s

  story entitled, “Seth Rich, slain DNC staffer, had contact with WikiLeaks, say multiple

  sources”.     The    article   included   the    quotes   that   Wheeler   had   approved.

  [http://web.archive.org/web/20170516133954/http://www.foxnews.com/politics/2017/05/

  16/slain-dnc-staffer-had-contact-with-wikileaks-investigator-says.html].

         86.    Fox News tweeted Zimmerman’s story to its 16 Million followers:




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        87.    On May 16, 2017 – after publication of Zimmerman’s article – Wheeler

  appeared on Fox News and was interviewed by Sean Hannity (“Hannity”).

  [https://www.youtube.com/watch?v=CuRJDKEVxHY].

        88.    Wheeler    once    again   expressly confirmed      that   Seth   Rich   had

  communicated with WikiLeaks:

                “HANNITY:           The timeline is fascinating here. As I played in the
        last segment, Julian Assange I asked him repeatedly on radio and television if
        Russia was involved, absolutely not. Now believe him or not, he’s the guy at
        WikiLeaks who has an 11-year history of never being proven wrong … I guess
        my question is when you look at the timeline of this, and 12 days after he was
        killed it shows up on WikiLeaks, what did you discover in terms of the contacts
        with WikiLeaks?

                WHEELER:              Right, well that is an excellent question and let me
        clear that up right now exactly what it was that I found. Now I have never seen
        the emails myself directly I haven’t even seen the computer that Seth Rich used.
        Here is the problem with all of this: I don’t even know where the computer is. I
        checked with the police department. They said they don’t know where the
        computer is and the FBI they say they don’t have the computer. Now, where did
        this information come from in terms of knowing or believing, I should say, that
        Seth Rich could have been in communications with WikiLeaks. There was a
        federal investigator that was involved on the inside of the case, a person that is
        very credible. And I’ll tell you, let me just say this Sean, I don’t like to suggest
        things without saying the person’s name, but I can’t say that person’s name
        because that person would be thrown under the bus. And I can’t do that, but this
        person we checked him out, we had to check him out, very credible. He said
        he laid eyes on the computer, and he laid eyes on the case file, and he came
        across very credible. When you look at that with the totality of everything
        else I’ve found in this case, it’s very consistent for a person with my
        experience to begin to think well perhaps there were some email
        communications between Seth and WikiLeaks. Everytime I talk to the police
        department though Sean, everytime I talk to the police department about the
        WikiLeaks or the emails, it’s automatically shut down. That discussion is
        automatically shut down.
        …

  (Emphasis added). Wheeler never once informed Hannity that Butowsky, Zimmerman or

  Fox had misquoted him. Wheeler never claimed that Fox, with Butowsky’s support, had




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  “fabricated” quotes or that the Zimmerman article was “fake news”. Wheeler went on to

  tell Hannity that:

         “[i]f this is just a murder investigation, first of all why would the FBI be
         involved? The only reason the FBI would be involved just so that the viewers
         understand is if this has some degree of national exposure, meaning because
         maybe it is related to the DNC. We don’t know that. We don’t know that for
         sure. It could have been a botched robbery, but my point is this Sean and I’ve
         been investigating murders for a while you have to look at every possibility you
         can’t just look at one thing say well that has to be it … But here is the thing, and
         this is so important, there has been a $125,000 reward out for information
         pertaining to the death of Seth Rich. Not one person has come forward. Here is
         one other thing that is going to be startling and I’m just going to say this right
         now. I reached out to the police department way back in March when the family
         first hired me right to get involved. I didn’t hear anything from the police
         department for 2-3 days. Guess what I leaned yesterday [May 15, 2017] from the
         family of Seth Rich? The police department did not call me back because
         someone, a high-ranking official at the DNC, check this out, a high-ranking
         official at the DNC, when I called the police department. They got that
         information and called the Rich family wanting to know why was I snooping
         around?
         …

               I don’t know for sure. I don’t know as a matter of fact if the emails
         went out to the WikiLeaks or anybody else, but it sure appears that way.”

  (Emphasis added). Prior to June 27, 2017, Wigdor knew all about Wheeler’s appearance

  on Hannity, just like he knew about Wheeler’s appearances on Fox 5 DC and his on-air

  statements to Marraco, and the admissions in Wheeler’s extensive text and email

  communications with Zimmerman. Wigdor knew that Wheeler – who held himself out as

  a seasoned DC homicide investigator – confidently opined that it “sure appears” there

  were email communications between Seth Rich and WikiLeaks.

         89.     Wigdor also knew that Wheeler had disclosed to Zimmerman what the

  Rich family had said. In text messages on May 15, 2017, Wheeler expressly advised

  Zimmerman as follows:




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         “Joel [Rich] said that when I called the police department, right after that Donna
         Brazile called him and was asking him why I was snooping around asking
         questions about death of Seth and his working relationships at the DNC. I was
         startled to learn that Donna Brazile even knew that I reached out to the
         police department. So basically, when I called the police department that
         information was automatically given to Donna Brazile and she called Joel
         wanting to know why I was inquiring about Seth relationships at the DNC. As a
         police investigator that automatically makes me think that Donna Brazile is
         in a category of persons of interest as it relates to the death of Seth Rich. I
         also spoke with another source who informed me that not only was Donna Brazile
         snooping around wanting to know what I was learning with regards to the DNC
         and Seth Rich, but also I was told that Debbie Wasserman Schultz was
         snooping around wanting to know how much it was I [sic] learning.”

         “I just read the email you sent. Joel [Rich] informed me that Donna Brazile
         called him not the police department asking why I was snooping around.
         My question is how did she know I called the detective so quick.”

  (Emphasis added).

         90.     On May 16, 2017, in addition to Hannity, Wheeler appeared on Fox

  Business with Lou Dobbs (“Dobbs”) to discuss the Seth Rich murder investigation.

  [https://www.youtube.com/watch?v=2tqckO7bBjk]. Dobbs asked Wheeler about “this

  federal investigator, we’re in an unusual situation, an FBI forensic report showing 44,000

  emails 18,000 attachments, that approximates just about what was released by WikiLeaks

  … do you think that is a coincidence?” Wheeler replied without hesitation,

                “WHEELER:              No, I actually don’t think it’s a coincidence… his
         information that he shared with Fox News is pretty consistent with everything else
         I’ve been learning including the fact that right now no one seems to know where
         the computers are that belonged to Seth Rich, the computers obviously were
         confiscated at some point.”

  When Dobbs asked about the claim that DC detectives were told to “stand down”,

  Wheeler stated:




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                 WHEELER:               And that is a claim I actually heard myself from a
         detective, who said ‘Rod we were told not to investigate this fully’. Now see
         that’s interesting because that is consistent with what this federal investigator
         said. The federal investigator never knew Lou, that I had heard from a detective
         in the police department to stand down. Well if this guy says the same thing, you
         have to start saying to yourself well maybe there is some truth behind this. So,
         that’s why I think when you look at the totality of everything we have right now it
         is very consistent with what this federal investigator has said.
         …

                We also don’t have body cameras that I know police officers were
         wearing on the scene the night in which Seth was killed. That’s a problem
         because we know for a fact those officers had on body cameras. No one knows
         where the video is. I think we are going to have to continue to look at this case
         and hope more will come out as time goes by Lou.”

         91.    No one made Wheeler talk to Fox 5 DC correspondent, Marina Marraco.

         92.    No one made Wheeler confirm the accuracy of his quotations to

  Zimmerman … three (3) times.

         93.    No one made Wheeler go on Hannity or Dobbs. 8



         8
                 As was well-known to Wigdor prior to publication of the false and
  defamatory statements at issue in this action, Wheeler made repeated positive statements
  to multiple people, and then, in less than 48 hours, claimed that his own statements were
  fabricated. Wheeler did a colossal flip-flop. It was obvious to everyone that Wheeler
  was an incredible, unbelievable and unreliable source, whose veracity was seriously
  in question. Blake Hounshell, POLITICO Magazine’s Editor-in-Chief, observed:




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  I.     Wigdor Knew That Wheeler Had A Strong Motive To Lie

         94.      On May 16 or May 17, 2017, one or more members of Seth Rich’s family

  or a spokesman for the Rich family threatened to sue Wheeler for violating the terms of

  his contract by speaking with Marraco, Zimmerman, Hannity and Dobbs. [See

  https://www.nbcnews.com/politics/justice-department/slain-dnc-staffer-s-family-orders-

  blabbing-detective-cease-desist-n762211].

         95.      Counsel for the Rich family, Joseph A. Ingrisano, Esquire, of Kutak Rock,

  notified Wheeler that his “statements and actions have caused, and continue to cause, the

  [Rich] Family severe mental anguish and emotional distress. Your behavior appears to

  have been deliberate, intentional, outrageous, and in patent disregard of the Agreement

  and the obvious damage and suffering it would cause the Family.” Ingrisano further

  advised Wheeler that his “improper and unauthorized statements, many of which are false

  and have no basis in fact, have also injured the memory and reputation of Seth Rich and

  have defamed and injured the reputation and standing of the members of the Family”.

         96.      Rich family spokesman, Brad Bauman (“Bauman”), also issued a public

  statement. Bauman emphasized that “[a]nyone who continues to push this fake news

  story after it was so thoroughly debunked is proving to the world they have a transparent

  political agenda or are a sociopath”. “In either case, they should be taken off the air

  because they are either blind to the damage they are doing to a murder victim’s family or

  don’t care, showing a profound lack of judgement and common decency.”

  [http://www.chicagotribune.com/news/nationworld/ct-seth-rich-slaying-conspiracy-

  20170520-story.html;     https://www.thedailybeast.com/the-big-money-pr-war-over-seth-

  richs-death].




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         97.     The threats from the Rich family and Bauman provided Wheeler with a

  strong motive, self-interest and reason to backtrack and to distance himself from the

  quotes and statements he had made to Marraco, Zimmerman, Hannity and Dobbs.

         98.     Wigdor knew that Wheeler’s liability to the Rich family provided Wheeler

  with a motive to lie about Butowsky, Zimmerman and Fox.

         99.     Wigdor also knew that there was significant conflict between Wheeler and

  Aaron Rich. Wigdor knew that in a YouTube video recording (published July 12, 2017)

  Wheeler had accused Aaron Rich of obstructing the murder investigation by prohibiting

  Wheeler from making any inquiries about the “emails” on Seth Rich’s computer.

  [https://www.youtube.com/watch?v=2p8at6PD4L8; https://bigleaguepolitics.com/audio-

  rod-wheeler-explains-fox-news-fiasco-claims-brother-blocked-wikileaks-inquiries/].

  BigLeaguePolitics.com summarized the audio tape of Wheeler’s accusations of

  obstruction as follows:




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  Aaron Rich’s obstruction and refusal to permit Wheeler to investigate Seth Rich’s emails

  caused Wheeler to conclude that there were, in fact, email communications between Seth

  Rich and Wikileaks. Wheeler stated point blank, “with everybody pushing back on this

  email thing in the family and they’re so protective of the email, it leads me to think

  that perhaps there were some communications between Seth Rich and Wikileaks.”

  (Emphasis added). 9 Wheeler confirmed that he recorded all of this in a “report”, which

  Wheeler characterized as a “running resume” consisting of notes of “every discussion”.

         100.   The conflict between Wheeler and Aaron Rich and Wheeler’s statements

  about the Seth Rich email communications with WikiLeaks should have caused Wigdor

  to seriously question Wheeler’s veracity. In light of the audio recording and Wheeler’s

  “report”, how could Wheeler deny the connection between Seth Rich and WikiLeaks?

  However, Wigdor had a predetermined agenda – to extort money from Fox with a

  fabricated story about Butowsky colluding with the President. The truth – that Seth Rich

  was in communication with WikiLeaks – cut the legs out from under Wigdor’s false

  narrative. Wigdor was determined to squelch the truth.

  J.     Wigdor Knew That Wheeler Back-Tracked 100% and Could NOT Be Trusted

         101.   In an article published on May 17, 2017 at 12:42 a.m., BuzzFeed News

  quoted Wheeler as follows:




         9
                  Wheeler’s representations in the audio recording published in July 2017
  are identical to the representations he made to Zimmerman. Wheeler told Zimmerman
  that there was “some degree of email exchange between Seth Rich and WikiLeaks”.


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  https://www.buzzfeed.com/claudiakoerner/the-private-detective-who-ignited-a-clinton-

  conspiracy?utm_term=.cmYQ8ZrbEz#.xr04N76J3z].

         102.    On May 17, 2017 at 11:32 p.m., Fox 5 DC published an editor’s note. The

  note emphasized that what Wheeler told Fox 5 DC on camera on Monday, May 15, 2017

  regarding Seth Rich’s murder investigation is in “clear contrast” to his representations

  “over the last 48 hours”. Fox 5 DC pointed out that Wheeler “backtracked” completely

  on his assurances to Fox 5 DC and Fox News. After Wheeler backtracked, Fox 5 DC

  attempted incessantly to communicate with him, but he did not return calls or emails. On

  May 17, 2017, “just before our newscast, Wheeler responded to our requests via a

  telephone conversation, where he now backtracks his position and Wheeler characterizes

  his    on-the-record     and     on-camera          statements   as   ‘miscommunication.’”

  [http://www.fox5dc.com/news/local-news/private-investigator-there-is-evidence-seth-

  rich-contacted-wikileaks-prior-to-death]. 10

  K.     Wigdor Knew About Wheeler’s Statement to FetchYourNews

         103.    After May 17, 2017, Wheeler continued to publish statements that should

  have caused Wigdor to doubt Wheeler’s veracity. Wigdor never once doubted Wheeler

  because Wigdor did not care whether Wheeler was telling the truth. Wigdor disregarded

  the truth because Wigdor intended to fabricate and publish a story about collusion with

  the President and “fake news”. Wigdor swept Butowsky up into the false narrative.




         10
                 Widgor had every reason to doubt Wheeler’s veracity. Wheeler’s
  backtracking and lies were a matter of public record. Wigdor intentionally and recklessly
  disregarded the truth when he deliberately republished Wheeler’s false and defamatory
  statements about Butowsky and Fox. Wigdor advocated the false narrative out of a
  calculated desire to extort a $60,000,000.00 settlement out of Fox.



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         104.   On May 22, 2017, Wheeler released a statement concerning the death of

  Seth Rich that was published by Brian K. Pritchard, FetchYourNews.com.

  [http://fetchyournews.com/tag/rod-wheeler/]:




         105.   In his written statement published by FetchYourNews, Wheeler publicly

  represented that Zimmerman’s article was “essentially correct and worthy of further

  investigation”. (Emphasis added). 11 Wheeler’s own statement reads:




         11
                 Despite Wheeler’s own words that the Fox News article was “essentially
  correct”, Wigdor and Wheeler claimed that on May 16, 2017 Wheeler called Zimmerman
  and confronted her about the use of false quotations in the Fox News article. Wigdor and
  Wheeler ginned up a story that Zimmerman told Wheeler that she would have the
  quotations removed from the article and, when they were not removed, that Zimmerman
  told Wheeler that she had been instructed by her bosses at Fox News to leave the false
  quotes in the story. Wigdor and Wheeler made up facts out of whole cloth. If Wheeler
  was upset about purportedly fabricated quotes of a highly politically-charged
  nature being falsely attributed to him, why would he admit in a written statement
  on May 22, 2017 – a full six days after publication of the article on May 16, 2017 –
  that Zimmerman’s story was “essentially correct and worthy of further
  investigation”??? In truth, Wheeler admitted to FetchYourNews on May 22, 2017
  that Zimmerman’s article was on the money.


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         106.    Rupert Murdoch’s daughter-in-law, Kathryn Murdoch (wife of James

  Murdoch), worked for the Clinton Foundation and is a friend of the Clintons.

  [http://www.qdvm.org/kathrynmurdoch/]. Kathryn Murdoch is also an outspoken critic

  of President Trump.

         107.    At Kathryn Murdoch’s request, and for no other reason, Fox pulled

  Zimmerman’s article.

         108.    On May 23, 2017, Fox retracted the article with the following explanation:

         “On May 16, a story was posted on the Fox News website on the investigation
         into the 2016 murder of DNC Staffer Seth Rich. The article was not initially
         subjected to the high degree of editorial scrutiny we require for all our reporting.
         Upon appropriate review, the article was found not to meet those standards and
         has since been removed.

         We will continue to investigate this story and will provide updates as warranted.”

  [http://www.foxnews.com/politics/2017/05/23/statement-on-coverage-seth-rich-murder-

  investigation.html].

         109.    On June 5, 2017, Wheeler appeared in an interview published on YouTube

  channel, Crowdsource The Truth. [https://www.youtube.com/watch?v=yDI0AFOHuNI].

  At 17:30 of the video, Wheeler told the hosts that “I haven’t walked back anything. As a

  matter of fact, in my statement that I released a week ago, I mean I said then in my

  statement in writing that I do believe that there was some communication between


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  Seth and WikiLeaks and I believe that based on common sense … and you know

  from information that we’re getting from various sources.” (Emphasis added). 12

  Wheeler also confirmed that he had hired an “attorney”.

         110.   On June 19, 2017, Wheeler made the following statements on YouTube

  channel, Jamarl Thomas:

         “what happened was the Fox 5 reporter, a woman named Marina Marroco, she
         reached out to me on that particular Monday. She had been following the Seth
         Rich case herself for a while for Fox 5 … So, I had not read the actual report that
         was going to be released by the Fox News reporter on Tuesday, but I had heard
         there was going to be a report released. 13 So the Fox 5 reporter asked could I give
         her a comment just a teaser, okay just teaser for the 10 o’clock news … I stepped
         outside from dinner literally … to give her a quick teaser. Now she asked me
         about 3 or 4 or 5 questions before the camera guy could get set up. Now the truth
         of the matter is that the camera guy was already set up and rolling if you will
         without me even knowing that we were being recorded and that’s fine. I mean I
         don’t have a problem with that … So, she asked me, and this is important she said
         so you have information from a source that they have seen emails from Seth Rich
         computer? And I said I think I said something yes, confirmed. Now what did I
         mean by that? I meant that it was confirmed by the Fox News reporter who had
         just told me about this guy, not that it was confirmed that I saw it with my own
         eyes. So, I never really back tracked on anything. The reporter from Fox News
         who told me yes it’s confirmed that this guy that this guy saw the emails, okay
         and so basically what I did was repeated that but not once have I ever said I saw
         the computer.”

  [https://www.youtube.com/watch?v=er8PhSOk85s]. Wheeler confirmed that his work

  for the Rich Family was “done”. Wheeler stated that he declined to keep working on the

  Seth Rich murder case because “my family and me has [sic] taken so much of a hit in the

  media over the past couple of weeks. To be honest, I’ve never had to deal with anything




         12
                 This is the exact same thing that he said to Zimmerman and that she
  quoted in the May 16, 2017 Fox News story.

         13
               This is a patently false statement. As evidenced by the emails and text
  messages on May 15, 2017, Wheeler had read Zimmerman’s report.


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  like this before. You know what I mean? … It takes a toll on you, so I decided I really

  don’t even want to be involved in this case anymore.”

  L.     Wigdor and Wheeler Concoct A Fake Story

         111.    As of June 2017, Wigdor had filed and/or had threatened to file numerous

  lawsuits against Fox, including, without limitation,

         Ɣ       Ujkic v. Twenty-First Century Fox, Inc. et al., Case 1:16-cv-09608
                 (filed 12/13/2016);

         Ɣ       Brown et al. v. Twenty-First Century Fox, Inc. et al., Case 22446/2017E
                 (filed 03/28/2017);

         Ɣ       Blanco v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-03017
                 (filed 04/25/-2017);

         Ɣ       Lee v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-03835
                 (filed 05/22/2017)

         Ɣ       Farrow v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-03836
                 (filed 05/22/2017)

         Ɣ       Hughes v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-07093
                 (filed 09/18/2017)

         Ɣ       Gollohor v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-08232
                 (filed 10/25/2017)

  (the “Wigdor Discrimination Suits”).

         112.    On or before June 5, 2017, Wigdor met Wheeler. Wigdor and Wheeler

  agreed, associated, mutually undertook, concerted and combined together for the

  unlawful purpose of manufacturing claims of defamation against Butowsky, Zimmerman

  and Fox. Upon information and belief, the conspiracy was launched by a phone call.

         113.    The purpose of the conspiracy was to extort a settlement of the Wigdor

  Discrimination Suits by means of a threat to publish fake news.




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         114.    By fabricating a story about Fox colluding with the President to produce

  “fake news” about Seth Rich, Wigdor believed he could pressure Fox into a huge

  settlement.   Fox had made a bid to acquire shares of “Sky” – the British media

  conglomerate that delivers internet, television and mobile services to more than 22

  million customers in the U.K., Ireland, Germany, Austria and Italy (Fox, which holds a

  39% stake in Sky, announced in December 2016 its bid to purchase the remaining shares

  for $11.1 billion). Wigdor knew that the British regulators were sensitive to “fake news”.

  Wigdor believed that Fox would pay him $60,000,000.00 to keep the fabricated story

  about collusion with the President quiet. It was blackmail and extortion pure and simple.

         115.    Wigdor propositioned Wheeler:         Wigdor agreed to pay Wheeler

  $4,000,000.00 from the proceeds of settlement of the Wigdor Discrimination Suits if

  Wheeler went along with a false narrative about Fox, the President, “fake news”,

  collusion, and the Russians.

         116.    Wigdor believed the made-up story was so salacious that the mere threat

  of publication of the false narrative would intimidate and coerce Fox into settling the

  Wigdor Discrimination Suits.

         117.    Wheeler, who was broke and in financial in extremis, took Wigdor’s offer

  and agreed to participate in the conspiracy.

  M.     Wigdor Attempted To Extort Fox

         118.    Prior to June 23, 2017, in anticipation of a mediation of the Wigdor

  Discrimination Lawsuits, Wigdor prepared a draft of a complaint against Fox,

  Zimmerman and Butowsky.




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         119.   Wigdor planned to publish the unprivileged draft document to Fox at the

  mediation.

         120.   Wheeler told Wigdor that he (Wheeler) had no evidence of any collusion

  between Butowsky and the President and not to include allegations of collusion in any

  complaint. Wigdor intentionally disregarded Wheeler’s advice and direction. Wigdor

  included in the draft document salacious, scandalous and impertinent allegations about

  collusion, the President and “fake news”. Consistent with a common scheme and routine

  business practice, Wigdor drafted the pleading solely for its shock effect.    Wigdor

  intended to use the draft document in an attempt to extort a global settlement of the

  Wigdor Discrimination Suits from Fox at the mediation.

         121.   In order make Wheeler’s claim look like a “discrimination” lawsuit, so

  that Wigdor could interject the scandalous allegations about the President in the

  upcoming mediation, Wigdor and Wheeler falsified a claim of “discrimination”. Wigdor

  claimed that Wheeler was the subject of “discrimination” because “white colleagues [at

  Fox News] with comparable or inferior skills, expertise and experience have received

  more air time, made more appearances and been hired into full time positions”. The

  “discrimination” was factually and legally baseless and was inserted in the draft

  complaint for the improper purpose of extorting Fox. Wigdor knew that Wheeler could

  not assert a Title VII “discrimination” claim because Wheeler had not filed a charge of

  discrimination or exhausted his administrative remedies with the Equal Employment

  Opportunity Commission (“EEOC”). The “discrimination” claim was pure sophistry.

         122.   In July 2017, Wigdor and Fox engaged in a mediation. Wigdor did not

  invite Butowsky or Butowsky’s attorney, Harrison, to the mediation.




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         123.    At the mediation, Wigdor published the draft document to counsel for Fox

  – DLA Piper, LLP.

         124.    The unprivileged draft document falsely stated that Zimmerman, “with

  knowledge and support of Butowsky, fabricated two quotations and attributed them to

  Mr. Wheeler:

         Ɣ       ‘My investigation up to this point shows there was some degree of email
                 exchange between Seth Rich and Wikileaks,’ said Wheeler.’

         Ɣ       ‘My investigation shows someone within the DC government, Democratic
                 National Committee or Clinton team is blocking the murder investigation
                 from going forward,’ Wheeler said. ‘That is unfortunate. Seth Rich’s
                 murder is unsolved as a result of that.’”

         125. Wigdor knew these allegations were false. He knew, for instance, (a) that

  Wheeler had made the statements publicly to Marraco, (b) that Wheeler had actually

  confirmed the quotations three (3) times to Zimmerman in emails and text messages, (c)

  that Wheeler had actually affirmed the substance of the quotations with Hannity and

  Dobbs on May 16, 2017, and (d) that Wheeler had actually told FetchYourNews that

  Zimmerman’s story was “essentially correct”.

         126.    The unprivileged draft document made multiple additional false and

  defamatory statements of fact of and concerning Butowsky, including that:

         Ɣ       Zimmerman, Butowsky and Fox had created fake news to advance
                 President Trump’s agenda.




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         Ɣ      Butowsky and Zimmerman were not simply Good Samaritans attempting
                to solve a murder. 14 Rather, they were interested in advancing a political
                agenda for the Trump Administration.

         Ɣ      Specifically, it was Butowsky and Zimmerman’s aim to have Wheeler
                confirm that: (i) Seth Rich was responsible for the leak of DNC emails to
                WikiLeaks; and (ii) Seth Rich was murdered by a Democrat operative
                because he leaked the emails to WikiLeaks.

         Ɣ      Butowsky and Zimmerman were not in this alone. Rather, they colluded
                with Sean Spicer, Steve Bannon 15 and Sarah Flores to shift the blame for
                the DNC hacks 16 from the Russians to Seth Rich in order to undermine
                reports of collusion between Russia and the Trump Administration.

         Ɣ      President Trump wanted Zimmerman’s article published to help lift the
                cloud of the Russia investigation. 17

         Ɣ      Simultaneous with baseless claims of nonpartisanship to British
                regulators, Fox was contriving with Butowsky and members of the Trump
                Administration to publish and disseminate fake news to affect politics in
                America.




         14
                Butowsky was not trying to solve the murder of Seth Rich. The Rich
  family engaged Wheeler – not Butowsky or Fox – to help solve the murder. Wheeler is
  the one who determined that Seth Rich’s murder was not the result of a botched robbery.
  Wheeler is the one who told Marina Marraco on camera that he had sources at the FBI
  who said there is information that could link Seth Rich to WikiLeaks. “Absolutely,
  yeah, and that’s confirmed”. These are Wheeler’s own words.
         15
               Butowsky has not spoken with Steve Bannon in three (3) years. Wigdor
  and Wheeler simply made this up to further their false narrative that the President was
  involved.

         16
                  No one “hacked” the DNC servers. Wigdor statements are patently false.
  The files were too large to “hack”. In truth, emails and attachments were downloaded to
  a flash drive, not hacked. [https://consortiumnews.com/2017/07/24/intel-vets-challenge-
  russia-hack-evidence/]. None of Wigdor’s representations were true. They constitute
  fake news wrapped in more fake news.

         17
                Wheeler told Wigdor there was no evidence of any collusion between
  Butowsky, Fox and the President and not to include these allegations in any lawsuit.
  Wigdor disregarded Wheeler’s advice and pursued the false narrative.



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         Ɣ      Because of Fox and Butowsky’s “devious scheming” British regulators 18
                have yet to provide a green light to Fox for the Sky takeover bid, and
                many U.K. politicians question whether Fox is capable of news
                dissemination in a fair and neutral manner.

         Ɣ      In falsely quoting Wheeler, Butowsky and Zimmerman attempted –
                through the publication of fake news – to accomplish what they had set
                out to do from the start: “solve the problem about Russians are the ones
                that gave the emails” and establish that “there was no collusion like trump
                with the Russians.”

         Ɣ      Butowsky planned to extort journalist, Seymour Hersh, in an effort to save
                the May 16, 2017 Seth Rich story. 19

         127.   As part of the extortion scheme, Wigdor notified Fox that he intended to

  publish the unprivileged draft document or republish its contents to Ofcom – the


         18
                Butowsky never once communicated with the British regulators, and never
  advocated a position regarding Fox’s bid for Sky.

         19
                In an audio recording published on July 11, 2017, Hersh stated:

         “What I know comes off an FBI Report … The kid [Seth Rich was] … a nice boy,
         twenty-seven. He was not an IT expert, but he learned stuff. He was a data
         programmer … Here’s what nobody knows … when you have a death like that,
         DC cops … have to get to the kid’s apartment and see what you can find … so
         they get a warrant … They go in the house and they can’t do much with his
         computer … They have a cyber unit in DC, and they’re more sophisticated. They
         come and look at it. The idea is that maybe he’s had a series of exchanges with
         somebody who’s said ‘I’m going to kill you, you motherfucker’ … and they can’t
         get in … So, they call the FBI cyber unit. The DC … Washington Field Office is
         a hot shit unit … There’s a cyber unit there that’s excellent … The Feds get
         through and here’s what they find. This is according to the FBI Report … What
         the Report says is that sometime in late Spring … early Summer, he [Seth Rich]
         makes contact with WikiLeaks. That’s in his computer … They found what he
         had done. He had submitted a series of documents … juicy emails from the DNC
         … He [Seth Rich] offered a sample, an extensive sample … of emails, and said I
         want money. Later, WikiLeaks did get the password. He had a … protected
         dropbox … He also, and this is in the FBI Report, he also let people know with
         whom he was dealing … The word was passed, according to the FBI Report, ‘I
         also shared this box with a couple of friends, so if anything happens to me, it’s not
         going to solve your problems’ … WikiLeaks got access before he was killed.”

  https://www.youtube.com/watch?v=giuZdBAXVh0].            Wigdor completely disregarded
  Hersh’s recorded statement.


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  communications regulation agency tasked with investigating Fox in connection with the

  Sky bid and issuing a report as to whether Fox had a “commitment to broadcasting

  standards”. Wigdor intended to use his fabricated story to argue that Fox was unfit, that

  Fox was a purveyor of “fake news”. Wigdor intended to argue that Zimmerman’s article

  demonstrated Fox’s willingness and determination to negatively influence the news

  agenda and the political process by knowingly generating and publishing “fake news to

  further its own political agenda.” Indeed, after Fox refused to be extorted by Wigdor,

  Wigdor acknowledged that he contacted British regulators in an attempt to influence

  them:




          128.   Wigdor knew that publication of the false and defamatory statements

  about Butowsky, the President and Fox would cause an immediate and irreversible

  maelstrom of controversy. Fox wanted to acquire Sky. Wigdor threatened to scuttle the

  transaction if Fox did not pay up.

          129.   To its credit, Fox refused Wigdor’s extortive demands.

  N.      Wigdor Leaked The Fabricated Story About Butowsky To Folkenflik/NPR

          130.   Wigdor was not deterred by Fox’s refusal to give in to the $60,000,000.00

  settlement demand.



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         131.     Instead of filing his complaint in a court of law, however, Wigdor did the

  unimaginable:     he leaked the fabricated story about Butowsky colluding with the

  President and Fox to main stream media prior to commencement of a judicial

  proceeding.

         132.     After he failed to convince DLA Piper to settle, Wigdor’s goal was to use

  main stream media and the Internet as the ultimate hammer to extort and pressure Fox, to

  insult, embarrass and humiliate Fox, and, ultimately, to enrich himself and Wheeler.

         133.     Wigdor’s use of the press and Internet as an echo chamber multiplied the

  devastating effect of his defamation upon Butowksy.

         134.     In July 2017 – after Fox refused to give in to his demands – Wigdor

  leaked the false statements to National Public Radio (“NPR”).

         1.       The Leaks To Folkenflik and NPR

         135.     Between July 24, 2017 and July 31, 2017, Wigdor leaked and published

  his unprivileged draft complaint and discussed its false statements with David Folkenflik

  (“Folkenflik”), media correspondent for NPR News. 20

         136.     At 7:23 a.m. on August 1, 2017 – before any courts were open –

  Folkenflik published an online article entitled, “Behind Fox News' Baseless Seth Rich

  Story: The Untold Tale”. [https://www.npr.org/2017/08/01/540783715/lawsuit-alleges-




         20
                 The selection of Folkenflik for leaking the false and defamatory
  statements was no coincidence. Wigdor knew that Folkenflik had been a vocal critic of
  Fox for years, even writing a book about the network and its Chairman Rupert Murdoch
  entitled, “Murdoch's World: The Last of the Old Media Empires.”
  [https://www.npr.org/2013/10/21/238899506/inside-murdochs-world-a-peek-into-a-
  media-empire].



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  fox-news-and-trump-supporter-created-fake-news-story]. The Folkenflik article appears

  on NPR.org as follows:




         137.    In his article, Folkenflik republished Wigdor and Wheeler’s false and

  defamatory statements in the unprivileged draft document. Wigdor and Wheeler are

  liable for all of Folkenflik republications.

         138.    The Folkenflik article quotes Wigdor as follows:




  Wigdor misrepresented to Folkenflik that Butowsky used Wheeler “as a pawn”;

  misrepresented that the “Trump administration” was involved, implying collusion; and

  misrepresented that there was an effort on anybody’s part to “steer” “attention” away

  from the non-existent “Russian hacking of the DNC emails”. Wigdor’s statements were

  all-around intentionally false. Wigdor’s published statements were calculated to support

  the now debunked fake news story of “Russian collusion”.

         139.    In his article, Folkenflik confirmed that he spoke with Spicer on Monday,

  July 31, 2017. According to Folkenflik, Spicer stated:



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         “‘Ed’s been a longtime supporter of the president and asked to meet to catch up,’
         Spicer tells NPR on Monday night.

         ‘I didn't know who Rod Wheeler was. Once we got into my office, [Butowsky]
         said, ‘I'm sure you recognize Rod Wheeler from Fox News.’

         Spicer says Butowsky laid out what had been found about the case. ‘It had
         nothing to do with advancing the president’s domestic agenda — and there was
         no agenda,’ Spicer says. ‘They were just informing me of the [Fox] story.’

         Spicer says he is not aware of any contact, direct or not, between Butowsky and
         Trump. And Butowsky now tells NPR he has never shared drafts of the story
         with Trump or his aides — that he was joking with a friend.”

  Folkenflik confirmed in his article that the Rich family “torch[ed]” Wheeler because of

  his discussions with the press.

         140.    Folkenflik’s article represents that Wigdor had “filed” the lawsuit.

  Folkenflik concealed his collusive arrangement with Wigdor. Folkenflik concealed the

  fact that Wigdor filed the complaint after leaking and publishing a draft to Folkenflik and

  after Folkenflik and NPR had already written the story.

                 a.      The Sheer Breadth Of Folkenflik’s Republication

         141.    The Folkenflik article was viewed by millions of subscribers to NPR.org.

  [See https://www.npr.org/about/press/NPR_Fact_Sheet.pdf (The total number of monthly

  unique visitors to NPR.org is 36.8 million. Monthly visits to NPR Digital Properties,

  including NPR.org and NPR apps exceeds 114.4 million)].

         142.    People accepted Folkenflik and Wigdor’s statements as though it were

  fact. Folkenflik’s article, including the false narrative and defamatory statements fed to

  Folkenflik by Wigdor, was republished hundreds of times, with no fact-checking

  whatsoever, by other main stream media outlets and online newspaper publishers. [E.g.,




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         https://www.mediaite.com/online/fox-news-published-fabricated-quotes-in-seth-

  rich-conspiracy-according-to-lawsuit/;

         http://kut.org/post/behind-fox-news-baseless-seth-rich-story-untold-tale;

         http://www.wbur.org/npr/540783715/lawsuit-alleges-fox-news-and-trump-

  supporter-created-fake-news-story;

         http://keranews.org/post/behind-fox-news-baseless-seth-rich-story-untold-tale;

         https://ww2.kqed.org/forum/2017/08/02/lawsuit-claims-white-house-

  involvement-in-discredited-fox-news-story/;

         http://boisestatepublicradio.org/post/lawsuit-alleges-fox-news-and-trump-

  supporter-created-fake-news-story#stream/0;

         https://www.opb.org/news/article/npr-behind-fox-news-baseless-seth-rich-story-

  the-untold-tale/;

         http://kzyx.org/post/behind-fox-news-baseless-seth-rich-story-untold-

  tale#stream/0;

         http://www.wvia.org/blogs/npr-news/lawsuit-alleges-fox-news-and-trump-

  supporter-created-fake-news-story/;

         http://www.cpr.org/news/npr-story/behind-fox-news-baseless-seth-rich-story-the-

  untold-tale;

         http://wglt.org/post/lawsuit-alleges-fox-news-and-trump-supporter-created-fake-

  news-story#stream/0;

         https://wfpl.org/behind-fox-news-baseless-seth-rich-story-the-untold-tale/;

         https://www.wmfe.org/behind-fox-news-baseless-seth-rich-story-the-untold-

  tale/76249;




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          https://news.wbhm.org/npr story post/2017/behind-fox-news-baseless-seth-rich-

  story-the-untold-tale/;

          https://www.hollywoodreporter.com/thr-esq/fox-accused-lawsuit-publishing-

  fake-news-at-donald-trumps-behest-1025708;

          https://www.reddit.com/r/washingtondc/comments/6qw5z6/from_npr_behind_fox

   news baseless seth rich story/?st=jc3nc6qp&sh=f8c35be4;

          https://newrepublic.com/article/144200/meet-reporter-driving-fox-newss-biggest-

  craziest-stories;

          https://www.memeorandum.com/170801/p30#a170801p30;

          https://www.si.com/tech-media/2017/12/10/best-journalism-writing-reporting-

  2017-media-circus;

          http://es.redskins.com/topic/414681-npr-behind-fox-news-baseless-seth-rich-

  story-the-untold-tale/;

          https://thinklab.com/content/510254;

          https://muckrack.com/davidfolkenflik/articles;

          https://www.huffingtonpost.com/entry/fox-news-white-house-seth-

  rich_us_59809958e4b0d6e28a10cb6e;

          https://mediaequalizer.com/brian-maloney/2017/08/cnn-gleefully-exploits-

  bizarre-lawsuit-filed-against-fox-news;

          https://www.mediamatters.org/video/2017/08/01/CNNs-Brian-Stelter-explains-

  how-new-Seth-Rich-report-shows-the-connections-between-Fox-and/217471].               Print

  media, including Vanity Fair, also republished Wigdor’s false and defamatory statements

  to   NPR.       https://www.vanityfair.com/news/2017/08/white-house-fox-news-seth-rich




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  (“‘Rod Wheeler unfortunately was used as a pawn by Ed Butowsky, Fox News, and the

  Trump administration to try and steer away the attention that was being given about the

  Russian hacking of the D.N.C. e-mails,’ Douglas Wigdor … told NPR.”)]. Mediaite

  called the Folkenflik article a “bombshell NPR report”:




         143.   In addition to the Folkenflik article, NPR simultaneously broadcast and

  republished Wigdor’s false and defamatory statements in a different format – to its

  Morning Edition radio audience.

         144.   The NPR radio broadcast was heard by millions of people across the

  Country. [See https://www.npr.org/about/press/NPR_Fact_Sheet.pdf (Weekly Listeners

  for all NPR Stations is 37.7 million. Weekly Listeners for NPR Programming and

  Newscasts is 30.2 million)].




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                b.     Abuse Of The Twitter Echo Chamber

         145.   On August 1, 2017, Folkenflik also published his article to a new target

  audience – his 75,100 followers on Twitter:




         146.   Folkenflik’s tweet, with the attached article, was retweeted 5,220 times

  and was liked 7,124 times…on August 1, 2017 alone.




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                c.     Massive Republication Via Twitter

         147.   Folkenflik’s article was republished on Twitter millions of times. On

  August 1, 2017 prior to 12:00 p.m. Noon (EST) alone, the article was tweeted (i.e.

  published) by the following persons and many others:

         Ɣ      NPR Politics – 2,930,748 followers




         Ɣ      NPR Business – 19,216 followers

         Ɣ      N/A – 8,505 followers

         Ɣ      Mark Memmott – 5,559 followers

         Ɣ      Steven D’Souza – 13,819 followers


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         Ɣ      Donna Brazile – 657,492 followers

         Ɣ      LiA – 49,239 followers

         Ɣ      J.M. Berger – 44,835 followers

         Ɣ      Jackson Proskow – 37,347 followers

         Ɣ      91.5 KRCC – 4,380 followers

         Ɣ      Muckmaker – 67,438 followers

         Ɣ      Puppymnkey – 142,686 followers

         Ɣ      Greg Pinelo – 14,774 followers

         Ɣ      audie cornish – 120,241 followers

         Ɣ      MiddleclassVote – 3,825 followers

         Ɣ      John Adams – 3,940 followers

         Ɣ      Diana Butler Bass – 28,251 followers

         Ɣ      Michael Weiss – 103,206 followers

         Ɣ      Veterans United March – 3,089 followers

         Ɣ      Andy Kroll – 16,921 followers

         Ɣ      The Gospel of Hemp – 4,055 followers

         Ɣ      Sunbeams Are Free – 2,281 followers

         Ɣ      Zeke Miller – 206,497 followers

         Ɣ      Caroline O – 311,000 followers.

         148.   One of the persons who republished (i.e., retweeted) Folkenflik’s tweet

  was Brian Stelter (“Stelter”), host of CNN’s @ReliableSources and senior media

  correspondent for CNN. Stelter had 552,000 followers on Twitter as of August 1, 2017.

         149.   Stetler retweeted Folkenflik’s article to his 552,000 followers, stating:




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         150.    Many of Stelter’s followers, including “Southern Highlander”, replied to

  Stelter’s retweet, further publishing the Folkenflik article to a steadily, ever-increasing

  massive audience:




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         151.    Donna Brazile – former Chair of the DNC – had 657,500 Twitter

  followers on August 1, 2017:




  Ms. Brazile republished Folkenflik’s article to her 657,500 followers as follows:




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         152.   Bauman – the consultant and spokesperson assigned to the Rich family by

  the DNC – republished Folkenflik’s article to his 3,127 Twitter followers. Bauman

  claimed that he was left “literally speechless” by the Folkenflik/Wigdor statements about

  Butowsky:




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         153.   One of the broadest republications of the Folkenflik article occurred when

  “Muckmaker” tweeted the article to his/her 67,000 followers:




  Muckmaker republished the Folkenflik article multiple times on August 1, 2017,

  including the following:




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         154.   One of Muckmaker’s followers is Soledad O’Brien. O’Brien had 796,570

  Twitter followers on August 1, 2017:




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  Within minutes of receiving Muckmaker’s tweet at 5:29 p.m., O’Brien republished

  Muckmaker’s tweet as follows:




  O’Brien did no fact-checking.        She believed every word of the fabricated story

  republished by Folkenflik. She believed the false narrative, as most did, as if it were fact.



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  O’Brien was so impacted by the falsehoods that she felt compelled to mass publish it to

  her 800,000 followers.

                d.      Wigdor Joined In The Gang-Tweeting

         155.   On August 1, 2017 – before the Courts were even open – Widgor

  retweeted (republished) Folkenflik’s tweet and Stelter’s tweet to Wigdor’s 400 followers.

  Wigdor’s retweets were then retweeted and liked thousands of times:




  Wigdor also encouraged his Twitter followers to listen to the NPR radio broadcast:


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         156.   Folkenflik was not done. On August 1, 2017, Folkenflik republished

  Wigdor and Wheeler’s false statements during an interview with PBS News Hour.

  [https://www.youtube.com/watch?v=FJvgHjisz8c]. Folkenflik, inter alia, confirmed that:

         “You have a guy [Wheeler] who basically is saying that Fox News as a news
         organization and a Trump backer [Butowsky] are working in concert to try to
         arrive at a preconceived narrative and story rather than simply following
         journalistic effort to figure out what the facts are.”

         157.   The PBS News Hour broadcast was watched by hundreds of thousands of

  viewers. [See https://www.pbs.org/newshour/press-releases/pbs-newshour-sets-record-

  growth-in-q1-2016 (According to Nielsen national ratings, NewsHour’s P2+ average

  audience for February 2016 was 1,083,000)].

         158.   PBS News Hour has a YouTube channel with over 540,000 subscribers.

  The Folkenflik interview was uploaded to YouTube and viewed over 10,000 more times.

         159.   After August 1, 2017, Folkenflik gave further interviews in which he

  continued to push the false narrative created by Wigdor and Wheeler. Folkenflik told



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  Mediaite columnist John Ziegler that “Butowsky’s narrative is ‘inconsistent’”. Without a

  shred of proof, Folkenflik falsely repeated that “collaboration” between Butowsky and

  the President “is still a plausible assumption with the current evidence.”

  [https://www.mediaite.com/online/david-folkenflik-very-hard-to-rule-out-white-house-

  involvement-in-seth-rich-conspiracy/].

         2.     Wigdor Wehrmacht

         160.   On August 1, 2017, after setting Folkenflik lose, Wigdor cranked up his

  own public relations wehrmacht, and began a blitzkrieg of defamation in main stream

  media, all of which was televised and broadcast in Texas.

         161.   Wigdor and Wheeler appeared on MSNBC with Ari Melber (“Melber”).

  [https://www.youtube.com/watch?v=VFTdWAWrocQ].

         162.   In addition to the millions of people who, upon information and belief,

  watched the MSNBC interview live, Melber republished the interview to his 38,262

  Twitter followers and to MSNBC’s 1,975,316 Twitter followers:




         163.   In the interview with Melber, Wheeler made the following statements:




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         “That’s right well I was asked to get involved in conducting an investigation, a
         murder investigation of Seth Rich and that why I got involved, so I could try and
         find out who killed this guy. During the course of my investigation, there was a
         lot of things that came up uh there was a lot of suspicious information that I was
         learning about possibly the DNC being involved to some degree, I don’t know.
         What I decided to do was to take all my information and give it to the police
         department like you should do in any case and go from there. But halfway
         through the investigation and up the point this article was released by Fox, there
         were these quotes in there from me supposedly saying that I knew for a fact that
         Seth Rich the decedent had been in contact with WikiLeaks emailing them emails,
         that was not true.
         …

         I think uh well I know for a fact Ed Butowsky, who was the individual that was
         funding the investigation, he had been in contact with people from the White
         House and he was the one that was pushing this Russian hacking narrative, by
         the way that I didn’t know a whole lot about because I wasn’t you know trying to
         debunk a narrative or support a narrative I was trying to find a murderer.

         I do know that, and Ed even admitted it himself. And I think the bottom line from
         all of this, Ari, is the reporter herself from Fox News she even admitted it that she
         lied and put those quotes in there. I mean she admitted that but at the same time
         to this day they have not retracted that as a result of those quotes and her story it’s
         then damaged my credibility and my integrity.”

  When asked about Butowsky’s May 14, 2017 text, Wheeler stated:

         “Well first of all, I’m thinking why would the President have to review a story
         pertaining to a death, to the murder of a guy in DC, why would the President even
         be involved in this, but at that point, Ari, it was rather obvious to me that they
         actually lured me into this investigation. 21 They meaning this Fox News reporter
         and Ed Butowsky to substantiate this Russian narrative thing or to debunk that
         when in fact they told me that I was really getting involved just to solve a murder.
         All I want them to do is to correct the record, to tell the truth.”

  When asked about the “explosive allegations” in the complaint about the White House,

  Wigdor stated:


         21
                 Wheeler’s statements to Melber are revealing. Wheeler clearly did not
  believe the President was involved in anything. And, if Wheeler knew “at that point” –
  May 14, 2017 – that he had been “lured into this investigation”, why did Wheeler
  continue to communicate with Zimmerman on May 15, 2017? Wheeler did not tell
  anyone he was “lured” into anything until after publication of Zimmerman’s article on
  May 16, 2017 and after Wheeler was threatened with litigation by the Rich family and
  Bauman.


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         “You don’t need them, but it’s the backdrop for why they defamed Rod. And you
         know it’s really interesting because you read the statement by Fox they say that
         our claims are erroneous … We are going to take discovery in this case. We
         are going to see the emails and the texts the phone calls or the visits to the
         White House between Ed Butowsky and President Trump and other people
         in the White House and we are going to get even more information in the case
         and what’s really amazing, last point, is that the General Counsel of 20th Century
         Fox … was in England trying to convince the regulators in England they should
         be able to purchase Sky and that they met the broadcasting standard by
         implementing new policies the day before this article came out.”

  (Emphasis added). Wigdor had no good faith basis to believe he was going to see emails,

  or text or phone calls between Butowsky and President Trump.          These scandalous

  statements made to main stream media were solely intended to fuel the media frenzy

  created and stirred by Wigdor.

         164.   In addition to Twitter, the August 1, 2017 MSNBC broadcast was

  uploaded to MSNBC’s YouTube channel – which has 689,000 subscribers.                 The

  YouTube video was viewed over 117,000 times.

         165.   On August 2, 2017, Wigdor appeared on CNN with Wolf Blitzer, where

  he published the following false and defamatory statements about Butowsky:

         “I watched that interview last evening with your colleague, Chris Coumo, and it
         was actually highly entertaining because much of what he [Butowsky] said made
         absolutely no sense. You know take for instance the text message that he sent to
         Rod Wheeler. He said that the President read the article. He wanted it out
         immediately and now he’s trying to say that text was somehow a joke. I mean
         this was not a laughing matter. This was a text message. There was no emoji at
         the end of it. There was no smiley face. It wasn’t a joke. Ed Butowsky, as he
         said in texts, was in conversations with the White House, with the President.”

  [https://www.youtube.com/watch?v=S2BafRHiuZY].

         166.   Wigdor’s entire narrative regarding Butowsky’s connection to the

  Administration, particularly the President, is knowingly false.    Butowsky has never

  spoken to the President, nor has he claimed to have ever spoken to the President. Wigdor




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  intentionally disregarded Wheeler’s advice that there was no evidence of collusion, failed

  to conduct any investigation, failed to interview a single person, and even disregarded

  Spicer’s statements to Folkenflik that he (Spicer) was not aware of any contact between

  Butowsky and the President. It is axiomatic and obvious that “collusion”, i.e. between

  Butowsky and the President or between the Trump Administration and the “Russians”,

  cannot occur if the people have never met or communicated. “Collusion”, by definition,

  requires cooperation or agreement to act in concert. The suggestion that the President of

  the United States would have colluded with Butowsky – a person unknown to the

  President and with whom the President has never communicated – is preposterous.

  Wigdor knew that the representations were false, and Folkenflik shamelessly republished

  the obviously fake news.

         167.   Wigdor recklessly and irresponsibly created and perpetuated a false

  narrative to further his goal of extorting Fox. Wigdor’s actions were highly unethical,

  deceitful, fraudulent and unlawful acts of racketeering activity, clearly calculated to

  intimidate and injure Butowsky.

         168.   In his interview with CNN, Wigdor further misrepresented:

                 “Why do they want to attribute quotes to him that weren’t true? And as
         we set forth in the complaint, the reason for that was because that the White
         House in conjunction with Fox wanted to steer the narrative away from the
         Russian hacking scandal and steer that towards Seth Rich, which is really a
         tragedy. I feel my heart really goes out to the Seth Rich family for being part of
         this.
         …
                 What he [Wheeler] was hired to do was to do an investigation into the
         murder of Seth Rich, he wanted to do that, unfortunately he was used as a pawn in
         this case by Ed Butowsky and Fox News, he was used as a pawn again to steer
         away the narrative and that’s all documented not only in text messages, but also in
         voice recordings, the case is strong and not only were the statements made in the
         May 16 article false but you also have Ed Butowsky and Malia Zimmerman
         admitting those quotations were false.”



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         169.   The CNN/Wolf Blitzer interview was viewed live by hundreds of

  thousands of people, perhaps millions world-wide. It was uploaded to YouTube by

  Wigdor and viewed at least 228 more times.

         170.   Indeed, as part of Wigdor’s defamation campaign, he regularly uploaded

  videos to his YouTube channel, Wigdor LLP – Employment Lawyer NYC.

  [https://www.youtube.com/channel/UCeogDStcI35nkzCJYNatVBQ].

         171.   On August 3, 2017, Wigdor partner Christensen appeared with Wheeler on

  CNN    with   Chris    Cuomo     (“Cuomo”).     [https://www.youtube.com/watch?v=d5L-

  NF6cDOo]. Wheeler published the following false and defamatory statements about

  Butowsky:

                 “CUOMO:              Alright so let’s get to some of the allegations and as
         you know we interviewed Ed Butowsky here. He had some stiff responses and I
         want to get your response to his argument. The main allegation in the lawsuit is
         that they used you to forward a lie essentially that they misquoted you, is that
         accurate? Is that your argument here?

                “WHEELER:              That’s exactly my argument, Chris … I really
         tried hard to find a murderer not to debunk a Russian narrative … And while I
         was in the process of trying to find that murderer behind the scenes what I did not
         know is that this reporter and this rich guy, Ed Butowsky, had another plan in
         mind and that’s why they brought me into this thing and I realize that now.
         …

                As far as I’m concerned, this man [Butowsky] knew he was lying. He’s
         been lying the entire time.
         …

                We had this meeting [with Sean Spicer on April 20, 2017]. We met for
         about 10 -15 minutes and I’ll tell you real quickly how the meeting ended: Sean
         Spicer said, ‘I’m not sure how I can help with this investigation’. He said, ‘Rod if
         you want to talk some more about this or maybe if you want me to put you in
         touch with somebody at the Justice Department’. He gave me his business card
         … He also gave me his personal cell phone number … This is what he gave me,
         and he said if you need some more help give me a call. I’ve never called Sean
         Spicer after that, but that’s the truth and that’s what happened.



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                 CUOMO:                 … This is not the court of public opinion. In a court
         of law you only know what you show and you’re going to have to demonstrate
         that Sean Spicer, if you’re going to include the White House in a concocted story
         scheme, then you’re going to have to show that they knew something about it and
         that they wanted to advance it and there is some merit to this suggestion the
         President of the United States had seen this article and wanted it advanced, do you
         have any proof to do any of that?

                  CHRISTENSEN:              We just filed a lawsuit as you know on the
         first [of August] and … the defendants are entitled to answer and then we will
         proceed to discovery and we will obtain that information that we believe is out
         there and will prove Rod’s story.”

  Wheeler’s own words prove that the White House did not know and was not involved

  any scheme to publish “fake news”.        Christensen’s words demonstrate that Wigdor

  published false statements without evidentiary support. The false accusation of collusion

  with the President, Spicer, Bannon, Flores, etc., was invented out of whole cloth. Wigdor

  republished the Christensen/Wheeler interview to Wigdor’s Twitter followers:




         172.    On August 3, 2017, Wigdor told James Goodnow that “[i]t seems that Fox

  is a fake-news factory. It seems that they keep on putting out things to help the president,

  even if it’s not true.” [https://abovethelaw.com/2017/08/fire-fury-and-fox-news/].


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  Wigdor knew his statements would be republished by Goodnow and, indeed, Wigdor’s

  words appeared in an Above The Law article published on August 11, 2017.

         173.   On August 3, 2017, Wigdor wrote an eight-page letter to British

  regulators, in which he repeated the false and defamatory statements about Butowsky.

  [https://www.thedailybeast.com/fox-news-fake-news-could-doom-rupert-murdochs-

  dream]. Wigdor’s letter to Ofcom, inter alia, states that “Butowsky’s representations

  suggest something more than ‘low’ broadcasting standards. His claims suggest a failure

  to adhere to any standards. Fox must account for this failure and demonstrate why the

  public should have confidence in its commitment to broadcasting standards.”

         174.   On Tuesday, August 8, 2017, the New York Times published an expose

  entitled, “Fox Is Said to Have Declined to Settle Suits for $60 Million”.

  https://www.nytimes.com/2017/08/08/business/media/fox-is-said-to-have-declined-to-

  settle-suits-for-60-million.html]. The article describes Wigdor’s motive for defaming

  Butowsky. The New York Times reported that:

         “At a confidential mediation proceeding in late July [2017] 22, the lawyer Douglas
         H. Wigdor asked for more than $60 million to settle several disputes with Fox
         News and 21st Century Fox, according to two people familiar with the matter.
         Mr. Wigdor proposed that the settlement be paid in a lump sum, giving him the
         discretion to distribute the payments, according to one of the people.

         Those cases included gender and racial-discrimination lawsuits against the
         company that Mr. Wigdor had filed on behalf of more than 20 current and former
         employees in the last several months and at least one explosive complaint that had
         not yet been made public.




         22
               It was at this mediation proceeding in July 2017 that Wigdor published the
  unprivileged draft complaint containing false and defamatory statements about
  Butowsky. Wigdor published the statements in an attempt to extort a settlement of the
  Wigdor Discrimination Suits.


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         The company would not accept Mr. Wigdor’s offer and no resolution was
         reached, said the people, who requested anonymity to discuss a confidential
         matter. Mr. Wigdor’s proposal to settle the disparate cases all together is
         considered unusual, as it is rare that there are multiple suits with the same lawyer
         against the same party. Also, cases typically vary greatly in their merit, making
         them difficult to value as a group.

         After mediation failed, Mr. Wigdor went public last week with that explosive
         case, filing a defamation and racial-discrimination lawsuit against 21st Century
         Fox and Fox News that focused on an article about the death of Seth Rich, a
         young aide for the Democratic National Committee. The suit included
         accusations that the White House and a wealthy Trump supporter pushed Fox
         News to publish an article on its website as part of a scheme to end speculation
         about the president’s ties to Russia. Mr. Wigdor brought the suit on behalf of Rod
         Wheeler, a private detective involved in the case who said that Fox News had
         fabricated quotations from him in the article. Fox News, which later retracted the
         article, has denied the claims.”

  The New York Times article further noted that within a week after filing the Wheeler

  lawsuit, Wigdor published “a letter to the British authority scrutinizing 21st Century

  Fox’s $15 billion bid for Sky, a European satellite giant.”

         “In the letter, he [Wigdor] outlined evidence that he said showed that the
         company had not been transparent during the regulatory review; failed to
         adequately clean house after its harassment scandals; knowingly disseminated
         fake news, including the Seth Rich article; and did not live up to an earlier
         agreement to change its corporate culture.

         The British Culture Ministry announced on Tuesday that it had written to the
         Office of Communications, or Ofcom, seeking clarification on its earlier review
         of whether the company had met British broadcasting standards. In June, Ofcom
         ruled that Rupert Murdoch, executive chairman of 21st Century Fox, and other
         company executives were ‘fit and proper’ to hold broadcasting licenses in Britain,
         even as it concluded that the sexual harassment scandal at Fox News had
         amounted to ‘significant corporate failures.’”

  Wigdor told the New York Times that “[w]e went public with Rod Wheeler’s complaint,

  and we did that because they [Fox] weren’t willing to take certain steps that we thought

  were warranted. Since we went public with it, of course we let Ofcom know about it.”

  Wigdor used the false and defamatory statements about Butowsky colluding with the




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  President and Fox as part of his war against Fox. Butowsky was mere collateral damage

  to Wigdor. At all times relevant to this action, Wigdor acted with reckless disregard for

  the truth, and to further his personal agenda – to get Fox and to retaliate against Fox

  because Fox spurned Wigdor’s efforts to extort the $60 million settlement. As evidenced

  by Wigdor’s preconceived plan to extort Fox, his blatant disregard of Harrison’s June

  2017 letter, his conscious disregard of both Wheeler’s texts, emails, recorded interviews,

  and statements, and the public record, his desire to get Fox and his willingness to

  manufacture fake news about collusion between Butowsky, Fox and the President,

  Wigdor harbored ill-will, spite, actual malice and a desire to hurt Butowsky.

           175.   On August 8, 2017, Wigdor partner Willemin appeared live on “Make it

  Plain”, and repeated the false and defamatory statements about Butowsky.

  [https://www.facebook.com/MakeItPlain/videos/10155724601497048/?hc_ref=ARQ_eG

  Fxdz7Z8iaysXagWN8LiJeuY9RU 0w0 y1CVKs3cxKPRfXuHnxegLDnvxNK-yw].

           176.   On September 12, 2017, Wigdor appeared on BBC Television and gave an

  interview. [https://www.youtube.com/watch?v=EQBRqKuLZt4].             Wigdor made the

  following statements:

           “The decision that Ofcom originally made was before we filed a lawsuit on behalf
           of Rod Wheeler. It involved a very complicated set of facts, but the bottom line
           was that Fox News was creating fake news, and what you really have is you have
           the Murdoch empire from top to bottom, this isn’t just Fox News, this is the New
           York Post, this is everything the Murdochs touch.”

           177.   On September 19, 2017, Wigdor spoke with CNN Media’s Oliver Darcy

  (“Darcy”).      [http://money.cnn.com/2017/09/19/media/fox-news-court-dismiss-lawsuit-

  seth-rich/index.html]. Wigdor made the following false and defamatory statements to

  Darcy:




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         “We are confident that our client will ultimately be vindicated in a public court of
         law that will expose how Fox and the individually named defendants created fake
         news in an attempt at diverting attention away from the Russian hacking scandal.”

         178.    On September 22, 2017, the New York Times published an article about

  Wigdor’s war against Fox entitled, “Leading the Legal War Against Fox”.

  https://www.nytimes.com/2017/09/22/nyregion/douglas-wigdor-fox-news.html]. Wigdor

  did not conceal his feelings for Fox: “My view of 21st Century Fox and Fox News is that

  from top to bottom there is a systemic culture of not only discriminating against people

  based on their gender and color, but also of retaliating against them when they stand up to

  voice complaints,” he told the New York Times, reaffirming the harsh assessment of Fox.

  “Am I at war with Fox?” Widgor added, repeating a question he was asked. “Yeah, I

  guess I am.”

         179.    The New York Times noted that:

         “Many lawyers are content to let their paperwork speak for them, but in the
         middle of his flurry of litigation, Mr. Wigdor opened a new and seemingly
         damaging front in his war against the network. At his own expense, he flew to
         London in May to testify in front of British regulators who were trying to
         determine whether 21st Century Fox was ‘fit and proper’ to acquire the satellite
         broadcaster Sky. Mr. Wigdor said it was not, making his case in a 167-page
         memo. 23 Before flying back to New York City, he lobbed a last extralegal bomb
         at his antagonists. In a series of interviews with the British media, he started
         referring to the network as ‘18th Century Fox.’

         If all of this sounds personal, it is. While Mr. Wigdor stands to make a fortune if
         his lawsuits are successful, he seems less interested in collecting contingency fees
         — he is already a wealthy man — than in pursuing what amounts to a crusade.”

         180.    On September 22, 2017, Bloomberg Businessweek published an article

  entitled, “The Trump-Loving Lawyer Who Won’t Stop Suing Fox News”.

  [https://www.bloomberg.com/news/features/2017-09-22/the-trump-loving-lawyer-who-


         23
                 Wigdor’s 167-page memo, upon information and belief, contains further
  false and defamatory statements about Butowsky.


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  won-t-stop-suing-fox-news].    The Bloomberg article captured Wigdor’s malice and

  disdain for “19th Century Fox”. Wigdor told Bloomberg Businessweek that “[w]hen we

  write our complaints, there’s an effort on our part to make it as colorful as possible.

  We’re writing in a way that puts the company on its heels. Because we know that these

  companies have multimillion [dollar] marketing resources.         Now we’re suing this

  company and trying to change the public perception.” The Bloomberg article observed

  that:

          “In July, according to a report in the New York Times, Wigdor proposed in a
          mediation proceeding to settle all of the outstanding suits against 21st Century
          Fox for more than $60 million—a proposal Fox rejected. (Wigdor and Fox
          declined to comment on the negotiations.) Shortly thereafter, on Aug. 1, Wigdor
          filed a seventh suit against Fox News. This time his client was Rod Wheeler, a
          black contributor who said he’d been discriminated against by the network and
          that his reputation had been marred by his association with the manufacturing of a
          fake news story about Seth Rich, a young Democratic National Committee staffer
          who’d been murdered.

          The complaint read like a D.C. spy noir, rife with double-dealing and subplots.
          Among other things, it alleged that Fox News had colluded with members of the
          White House to gin up a bogus news narrative about Rich’s murder, aiming to
          deflect scrutiny from the Trump campaign’s contacts with Russian political
          operatives during the 2016 election. Wheeler, an ex-homicide detective, claimed
          that quotes had been fabricated under his name in a FoxNews.com story that
          sought to bolster the ungrounded theory that it might have been Rich, not the
          Russians, who provided WikiLeaks with a cache of stolen emails from the DNC.
          The story has since been retracted.

          The White House denied the allegations in the complaint, as did Fox News
          President Jay Wallace, who called them “completely erroneous.” In a motion to
          dismiss, lawyers for the network have argued that Wheeler was ‘neither
          misquoted nor defamed’ and that, in any case, he was contractually bound to
          pursue such claims in arbitration, not court. Even so, the wild, confusing
          allegations spawned countless news stories on both sides of the Atlantic—and, in
          the end, helped to persuade British authorities to nudge 21st Century Fox’s
          pending acquisition of Sky deeper into the regulatory thicket.”

  Wigdor told Bloomberg that part of his “press strategy” was to go “on the TV news

  circuit. Sometimes he stages press conferences. Often he grants in-depth access to a



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  single reporter from a prominent news outlet, on the condition that the story be

  embargoed until the day a suit is filed, when it can be set off like a firecracker.” 24

          181.    On October 23, 2017, Wigdor appeared on CNBC’s Closing Bell.

  [https://www.youtube.com/watch?v=KgmfpGdgaTg].               The following exchange took

  place concerning Fox’s bid to acquire Sky:

                  “CNBC ANCHOR:                 I’m curious why you would be called to
          testify in this particular case. This is about them being able to buy another
          company and whether or not they are fit to buy that company. You’re suing them.
          Of course, you are going to say they are not fit. You have an axe to grind here.

                  WIGDOR:               That’s a good question. I’m glad you asked it
          actually because what they are trying to determine is whether Fox should
          purchase Sky, the Foxification of Sky. Whether they meet broadcasting
          standards, whether or not they are fit and proper. Believe it or not I have not told
          the competitions and market authority what they should or should not do. I have
          not made any recommendations, but I feel obligated that I have a lot of
          information. I have 22 clients and I believe in transparency … I’m giving them
          information. They can do with that what they feel appropriate.
          …

                  CNBC ANCHOR:                  I’m coming off cynical here, but another
          part of me thinks, okay, you’re doing this to gain leverage with the company
          because you’re in negotiations with them. You can use this as leverage with
          them, to get a better settlement, maybe you don’t go [to England] the second time
          if you get decent settlements for your 22 clients.

                  WIGDOR:              I’m just trying to represent my clients zealously
          under the under the auspices of the law. I’ve never tried to use this in my
          negotiations with them … I represent Rod Wheeler in the Seth Rich murder fake
          news case. I mean that goes to the very heart of broadcasting standards, and
          whether the British people want the Foxification of Sky is a serious issue for them
          to consider.”

  On October 24, 2017, Wigdor republished the CNBC interview to his Twitter followers:




          24
                  Consistent with his business model, Wigdor used Folkenflik as rocket fuel
  to ignite a main stream media feeding frenzy. Wigdor’s “press strategy” was to put Fox
  on its heels in order to extort a settlement in the face of all the bad press.


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         182.   In addition to using main stream media and print media to harm

  Butowsky’s reputation, Wigdor used Twitter and Facebook.

         3.     Wigdor Personally Used Twitter and Facebook To Harm Butowsky

         183.   Wigdor used his Twitter account, @WigdorLaw, to simultaneously

  republish to a new target audience – Wigdor’s 421 Twitter followers – virtually every

  false and defamatory statement Wigdor ever made to main stream media and print media.

  [https://twitter.com/WigdorLaw?ref src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwg

  r%5Eauthor]. Wigdor also republished every television interview given on and after

  August 1, 2017. Wigdor also retweeted and republished articles that contained false and

  defamatory statements about Butowsky. [https://www.thedailybeast.com/trump-told-fox-

  news-to-publish-seth-rich-murder-hoax-lawsuit-claims?via=twitter_page].

         184.   Wigdor republished to his 112 public Facebook followers the false and

  defamatory statements made to main stream media and print media, including the

  statements he made to Folkenflik and republished by Folkenflik and NPR.



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  [https://www.facebook.com/WigdorLaw/]. Wigdor’s Facebook posts were “liked” and

  “shared” by multiple third-parties.     Wigdor even thanked “Super Lawyers” for

  republishing his false and defamatory statements:




         4.     Wigdor Used His Own Website to Promote Defamation

         185.   In addition to Folkenflik, Twitter and Facebook, Wigdor used his own

  website to promote and republish false and defamatory statements about Butowsky.




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  [https://www.wigdorlaw.com/wheeler-case-involving-fox-news-trump-administration-

  seth-rich/].

             186.   Wigdor’s website republishes multiple false and defamatory statements

  about Butowsky, including the following oft-repeated quote:




  Wigdor’s infamous quote, repeated hundreds of times by third-parties in articles, blogs,

  tweets and posts throughout the Internet, has been republished numerous times within the

  past two (2) years, including by Newsweek on March 29, 2018 in the following online

  article:




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         187.    Wigdor’s intention to extort Fox with the fabricated story about collusion

  with the President is exemplified by the picture Wigdor chose to publish and publicize on

  his website:




         188.    Wigdor and Wheeler’s intentionally false and defamatory statements,

  republished by third-parties hundreds of times in the past year, have devastated

  Butowsky. His name and reputation have been globally impugned. Through millions

  upon millions upon millions of publications and republications, tweets and retweets,

  posts, likes and shares, Butowsky has suffered unimaginable insult, shame, humiliation

  and embarrassment.

         189.    In spite of Butowsky’s efforts to get Wigdor to refrain from publishing

  and retract the false and defamatory statements, Wigdor refused.

                               COUNT I – DEFAMATION

         190.    Butowsky restates paragraphs 1 through 189 of this Complaint and

  incorporates them herein by reference.




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         191.    Wigdor and Wheeler made and published to numerous third-parties –

  including Folkenflik, NPR, main stream media, print media, Wigdor’s Twitter followers

  and subscribers to Wigdor’s YouTube channel – false factual statements, which are

  detailed verbatim above, of or concerning Butowsky.

         192.    By giving interviews, appearing on television, uploading, posting,

  tweeting and retweeting, Wigdor and Wheeler knew or should have known that their false

  and defamatory statements would be republished over and over by third-parties millions

  of times to Butowsky’s detriment and injury. Republication by main stream media, print

  media and on social media was the natural and probable consequence of Wigdor and

  Wheeler’s actions and was actually and/or presumptively authorized by Wigdor and

  Wheeler. Wigdor and Wheeler are liable for the millions of republications of the false

  and defamatory statements by third-parties.

         193.    Wigdor and Wheeler’s false statements constitute defamation per se. The

  statements accuse and impute to Butowsky the commission of crimes involving moral

  turpitude and for which Butowsky may be punished and imprisoned in a state or federal

  institution. The statements impute to Butowsky an unfitness to perform the duties of an

  office or employment for profit, or the want of integrity in the discharge of the duties of

  such office or employment. Wigdor and Wheeler’s statements also prejudice Butowsky

  in his profession or trade.

         194.    Wigdor and Wheeler’s false statements caused Butowsky to suffer loss

  and injury to his business, insult, pain, embarrassment, humiliation, and mental suffering,

  harm to Butowsky’s name and reputation, and out-of-pocket loss.




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         195.    Wigdor and Wheeler acted with actual malice and reckless disregard for

  the truth for the following reasons:

                 a.       Wigdor disregarded the advice of Wheeler and, in breach of his

         fiduciary duties and professional responsibilities, promoted the pre-determined

         false narrative that Butowsky colluded with the President to create “fake news”.

                 b.       Wigdor and Wheeler had a motive to lie about Butowsky, and a

         motive to fabricate charges collusion and “fake news”.

                 c.       Wigdor and Wheeler concocted their scheme and manufactured

         false statements about Butowsky out of whole cloth in order to extort money from

         Fox and, in Wigdor’s case, to scuttle the Sky deal and negatively impact Fox’s

         stock price.

                 d.       The statements were knowingly false, with not a shred of

         supporting evidence. In addition to Wheeler’s advice and admonition that he

         (Wheeler) had no evidence that Butowsky colluded with the President and not to

         make any such allegations, Wigdor was in possession of Wheeler’s email

         communications and text messages with Zimmerman, audio recordings on the

         Internet and other evidence that flatly and unequivocally showed the statements to

         be false.      Wigdor consciously and intentionally ignored the evidence.      He

         consciously and deliberately ignored Harrison’s letter. Wigdor chose to promote

         a predetermined false narrative that he knew would injure Butowsky.

                 e.       Wigdor and Wheeler chose to manufacture and publish false

         statements and use unnecessarily strong and violent language, disproportionate to

         the occasion.




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                 f.      Wigdor and Wheeler did not act in good faith because, in the total

         absence of evidence, they could not have had an honest belief in the truth of their

         statements about Butowsky.

                 g.      Wigdor and Wheeler reiterated, repeated and continued to publish

         the false defamatory statements out of a desire to hurt Butowsky and Fox and with

         reckless disregard for the consequences.

                 h.      Wigdor and Wheeler initiated the defamation and went out of their

         way in the press and on social media to publish extra-judicial statements about

         Butowsky.

                 i.      Wigdor employed agents to digitally assassinate Butowsky’s

         reputation.

         196.    Wigdor and Wheeler lacked reasonable grounds for any belief in the truth

  of their statements and acted negligently in failing to determine the true facts.

         197.    As a direct result of Wigdor and Wheeler’s defamation, Butowsky

  suffered substantial damage and loss, including, but not limited to, pain and suffering,

  emotional distress and trauma, insult, anguish, stress and anxiety, public ridicule,

  humiliation, embarrassment, indignity, damage and injury to his personal and

  professional reputations, attorney’s fees, costs, and other out-of-pocket expenses in the

  sum of $118,000,000.00 or such greater amount as is determined by the Jury.

                       COUNT II – BUSINESS DISPARAGEMENT

         198.    Butowsky restates paragraphs 1 through 197 of this Complaint and

  incorporates them herein by reference.




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          199.   Wigdor and Wheeler published false and disparaging information about

  Butowsky, which is detailed verbatim above.

          200.   Wigdor and Wheeler knew their statements were false and acted with the

  specific intent to extort money from Fox and injure Butowsky.

          201.   None of Wigdor or Wheeler’s statements are privileged. Wigdor and

  Wheeler had no right to publish false and disparaging information about Butowsky.

  Wigdor and Wheeler knew of the falsity of their statements and acted with wanton,

  intentional and reckless disregard concerning publication. Wigdor and Wheeler acted

  with ill-will and they intended to interfere with the economic interests of Butowsky in an

  unprivileged fashion.

          202.   Wigdor and Wheeler’s statements and actions constitute business

  disparagement.

          203.   Wigdor and Wheeler’s business disparagement caused Butowsky to suffer

  and incur special damages, including loss of income and business and out-of-pocket

  expenses in the sum of $118,000,000.00 or such greater amount as is determined by the

  Jury.

                           COUNT III – CIVIL CONSPIRACY

          204.   Butowsky restates paragraphs 1 through 203 of this Complaint and

  incorporate them herein by reference.

          205.   Beginning in June 2017 and continuing through the present, Wigdor

  combined, associated, agreed or acted in concert with Wheeler and with Folkenflik for

  the express purpose of injuring Butowsky in his business and reputation through the

  publication and republication of false and defamatory statements. In furtherance of the




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  conspiracy and preconceived joint plan, Wigdor orchestrated a scheme the unlawful

  purpose of which was to defame Butowsky, disparage his business and destroy his name

  and reputation. Acting in concert with Wheeler and Folkenflik, Wigdor utilized the

  Internet and various main stream media outlets and social media properties to publish,

  republish and spread the defamation and character assassination.

         206.    Wigdor acted intentionally, purposefully, without lawful justification, and

  with the express knowledge that he was injuring Butowsky.

         207.    Wigdor joint actions with Wheeler and Folkenflik constitute a civil

  conspiracy under Texas law.

         208.    As a direct result of Wigdor’s misconduct, Butowsky suffered damage and

  loss, including, but not limited to, injury to and loss of business, injury to his reputation,

  insult, pain, humiliation, embarrassment, mental suffering, attorney’s fees, court costs,

  and other damages in the sum of $118,000,000.00 or such greater amount as is

  determined by the Jury.

                                 COUNT IV – CIVIL RICO

         209.    Butowsky restates paragraphs 1 through 208 of this Complaint and

  incorporates them herein by reference.

         210.    Butowsky has been injured in his business and property by reason of

  Defendants’ multiple violations of Title 18 U.S.C. § 1962, described above.

         211.    As a direct and proximate result of Defendants’ violations of 18 U.S.C. §

  1962, Butowsky suffered injury and loss of property in an amount to be determined by

  the Jury, but not less than $118,000,000.00.




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         212.    In accordance with 18 U.S.C. § 1964(c), Butowsky seeks threefold the

  damages he has sustained, the costs of this suit, and his reasonable attorney’s fees

  incurred.



         Butowsky alleges the foregoing based upon personal knowledge, public

  statements of others, and records in his possession. Butowsky believes that substantial

  additional evidentiary support, which is in the exclusive possession of Wigdor, Wheeler

  and their agents and other third-parties, will exist for the allegations and claims set forth

  above after a reasonable opportunity for discovery.

         Butowsky reserves the right to amend this Complaint upon discovery of

  additional instances of Wigdor and Wheeler’s wrongdoing.



                     CONCLUSION AND REQUEST FOR RELIEF

         WHEREFORE, Ed Butowsky respectfully requests the Court to enter Judgment

  against Wigdor, Wigdor, LLP and Wheeler, jointly and severally, as follows:

         A.      Compensatory damages, Punitive damages and Treble damages in the sum

  of $118,000,000.00 or such greater amount as is determined by the Jury;

         B.      An Order imposing reasonable restrictions on the future activities of

  Wigdor, including, but not limited to, prohibiting this attorneys and law firm from

  engaging in the same type of endeavors as the enterprise engaged in;

         C.      Reasonable attorney’s fees;

         D.      Prejudgment interest on the principal sum awarded to Butowsky by the

  Jury from June 23, 2017 to the date of Judgment at the maximum rate allowed by law;




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        E.    Postjudgment interest at the maximum rate allowed by Texas law;

        F.    Such other relief as is just and proper.



                         TRIAL BY JURY IS DEMANDED



  DATED:      July 31, 2019



                              ED BUTOWSKY,
                              In his Individual and Professional Capacities



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                                     Of Counsel for the Plaintiff
                                           (Application for Admission Pro Hac Vice
                                           To be Filed)




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